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THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
ACCEPTANCE OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THIS
DISCLOSURE STATEMENT IS BEING SUBMITTED TO THE BANKRUPTCY COURT FOR
APPROVAL BUT HAS NOT YET BEEN APPROVED BY THE BANKRUPTCY COURT.

                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

    IN RE:                                                  §
                                                            §
     REAGOR-DYKES MOTORS, LP, et al.1                       § Case No. 18-50214-rlj-11
                                                            § Jointly Administered
                                       Debtors.             §

             FIRST AMENDED MODIFIED DISCLOSURE STATEMENT FOR
                       SECOND AMENDED JOINT PLAN OF
                REORGANIZATION FOR REAGOR-DYKES AUTO GROUP


                                      (DATED: September 3, 2019

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                      ATTORNEYS FOR DEBTORS AND DEBTORS-IN-POSSESSION




1 The following Debtors are jointly administrated: Reagor-Dykes Imports, LP (Case No. 18-50215), Reagor-Dykes
Amarillo, LP (Case No. 18-50216), Reagor-Dykes Auto Company, LP (Case No. 18-50217), Reagor-Dykes Plainview, LP
(Case No. 18-50218), and Reagor-Dykes Floydada, LP (Case No. 18-50219), Reagor-Dykes II, LLC (Case No. 18-50323),
Reagor-Dykes III, LLC (Case No. 18-50322), Reagor Auto Mall I LLC (Case No. 18-50325), Reagor Auto Mall, Ltd. (Case
No. 18-50324), Reagor-Dykes Snyder, L.P. (Case No. 18-50321).

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                                   DISCLAIMERS

THIS DISCLOSURE STATEMENT CONTAINS A SUMMARY OF CERTAIN PROVISIONS OF
THE PLAN OF REORGANIZATION OF THE DEBTORS AND DEBTORS-IN-POSSESSION
UNDER CHAPTER 11 OF THE UNITED STATES BANKRUPTCY CODE, A COPY OF
WHICH IS ATTACHED HERETO AS EXHIBIT A, PROPOSED BY THE DEBTORS IN THESE
CHAPTER 11 CASES. THIS DISCLOSURE STATEMENT ALSO CONTAINS SUMMARIES OF
CERTAIN OTHER DOCUMENTS RELATING TO THE CONSUMMATION OF THE PLAN
OR THE TREATMENT OF CLAIMS AND INTERESTS AND CERTAIN FINANCIAL
INORMATION RELATING THERETO.

THE DISCLOSURE STATEMENT INCLUDES CERTAIN EXHIBITS, EACH OF WHICH ARE
INCORPORATED INTO AND MADE A PART OF THIS DISCLOSURE STATEMENT AS IF
SET FORTH IN FULL HEREIN. THE STATEMENTS AND OTHER INFORMATION
CONTAINED IN THIS DISCLOSURE STATEMENT WERE MADE AS OF THE DATE
HEREOF, UNLESS OTHERWISE SPECIFIED. HOLDERS OF CLAIMS AND INTERESTS
REVIEWING THIS DISCLOSURE STATEMENT SHOULD NOT INFER THAT THE FACTS
SET FORTH HEREIN ARE ACCURATE AS OF ANY DATE OTHER THAN THE DATE SET
FORTH ON THE COVER PAGE HEREOF. HOLDERS OF CLAIMS AND INTERESTS MUST
RELY ON THEIR OWN EVALUATION OF THE DEBTORS AND THEIR OWN ANALYSIS
OF THE TERMS OF THE PLAN IN DECIDING WHETHER TO ACCEPT OR REJECT THE
PLAN.

ALL HOLDERS OF CLAIMS AND INTERESTS ENTITLED TO VOTE ON THE PLAN ARE
ENCOURAGED TO READ AND CAREFULLY CONSIDER THIS ENTIRE DISCLOSURE
STATEMENT, INCLUDING THE RISK FACTORS CITED HEREIN AND THE PLAN
ATTACHED HERETO, BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

THE DEBTORS ARE PROVIDING THE INFORMATION IN THE DISCLOSURE
STATEMENT SOLELY FOR PURPOSES OF SOLICITING HOLDERS OF CLAIMS AND
INTERESTS TO ACCEPT OR REJECT THE PLAN. NOTHING IN THIS DISCLOSURE
STATEMENT MAY BE USED BY ANY PERSON FOR ANY OTHER PURPOSE. THE
CONTENTS OF THIS DISCLOSURE STATEMENT SHALL NOT BE DEEMED AS
PROVIDING ANY LEGAL, FINANCIAL, SECURITIES, TAX, OR BUSINESS ADVICE. THE
DEBTORS URGE EACH HOLDER OF A CLAIM OR INTEREST TO CONSULT WITH ITS
OWN ADVISORS WITH RESPECT TO ANY SUCH LEGAL, FINANCIAL, SECURITIES,
TAX, OR BUSINESS ADVICE IN REVIEWING THIS DISCLOSURE STATEMENT AND
THE PLAN. MOREOVER, THIS DISCLOSURE STATEMENT DOES NOT CONSTITUTE,
AND MAY NOT BE CONSTRUED AS AN ADMISSION OF FACT, LIABILITY,
STIPULATION, OR WAIVER. THE SUMMARY OF THE PLAN AND OTHER DOCUMENTS
DESCRIBED IN THIS DISCLOSURE STATEMENT ARE QUALIFIED IN THEIR
ENTIRETY BY REFERENCE TO THE ACTUAL DOCUMENTS THEMSELVES AND THE
EXHIBITS THERETO.

THE DEBTORS BELIEVE THAT THE INFORMATION HEREIN IS ACCURATE BUT ARE
UNABLE TO WARRANT THAT THE INFROMATION IS WITHOUT ANY INACCURACY
OR OMISSION. THE DEBTORS HAVE NOT AUTHORIZED ANY PARTY TO GIVE ANY

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INFORMATION ABOUT OR CONCERNING THE PLAN OR THE DEBTORS OR THE
VALUE OF THEIR PROPERTY, OTHER THAN AS SET FORTH IN THIS DISCLOSURE
STATEMENT. HOLDERS OF CLAIMS AND INTERESTS SHOULD NOT RELY UPON ANY
OTHER INFORMATION, REPRESENTATIONS, OR INDUCEMENTS MADE TO OBTAIN
ACCEPTANCE OR REJECTION OF THE PLAN.

THE BANKRUPTCY COURT’S APPROVAL OF THE ADEQUACY OF THIS DISCLOSURE
STATEMENT DOES NOT CONSTITUTE THE BANKRUPTCY COURT’S APPROVAL OF
THE PLAN. NEITHER THIS DISCLOSURE STATEMENT NOR THE PLAN HAS BEEN
FILED WITH OR REVIEWED BY THE UNITED STATES SECURITIES AND EXCHANGE
COMMISSION UNDER THE SECURITIES ACT OF 1933, OR ANY SECURITIES
REGULATORY AUTHORITY OF ANY STATE UNDER ANY STATE SECURITIES LAW,
THIS DISCLOSURE STATEMENT AND THE PLAN HAVE NOT BEEN APPROVED OR
DISAPPROVED BY THE SECURITY EXCHANGE COMMISSION (“SEC”) OR ANY STATE
SECURITIES COMMISSION. NEITHER THE SEC NOR ANY STATE SECURITIES
COMMISSION HAS PASSED UPON THE ACCURACY OR ADEQUACY OF THE
INFORMATION CONTAINED HEREIN OR THEREIN. NEITHER THE OFFER NOR THE
SALE OF ANY SECURITIES PURSUANT TO THE PLAN HAS BEEN REGISTERED UNDER
THE SECURITIES ACT OR ANY SIMILAR STATE SECURITIES OR “BLUE SKY” LAWS.
ANY SUCH OFFER OR SALE IS BEING MADE IN RELIANCE ON THE EXEMPTIONS
FROM REGISTRATION THEREUNDER SPECIFIED IN SECTION 1145 OF THE
BANKRUPTCY CODE.

THIS DISCLOSURE STATEMENT SUMMARIZES CERTAIN PROVISIONS OF THE PLAN,
CERTAIN OTHER DOCUMENTS, AND CERTAIN FINANCIAL INFORMATION. THE
DEBTORS BELIEVE THAT THESE SUMMARIES ARE FAIR AND ACCURATE. IN THE
EVENT OF ANY INCONSISTENCY OR DISCREPANCY BETWEEN A DESCRIPTION
CONTAINED IN THIS DISCLOSURE STATEMENT AND THE TERMS AND PROVISIONS
OF THE PLAN OR THE OTHER DOCUMENTS OR FINANCIAL INFORMATION
INCORPORATED HEREIN BY REFERENCE, THE PLAN, OR SUCH OTHER
DOCUMENTS, AS APPLICABLE, SHALL GOVERN FOR ALL PURPOSES.

EACH HOLDER OF AN IMPAIRED CLAIM OR AN IMPAIRED INTEREST THAT IS
ALLOWED TO VOTE SHOULD REVIEW THE ENTIRE PLAN BEFORE CASTING A
BALLOT. NO PARTY IS AUTHORIZED BY THE BANKRUPTCY COURT TO PROVIDE
ANY INFORMATION WITH RESPECT TO THE PLAN OTHER THAN THAT CONTAINED
IN THIS DISCLOSURE STATEMENT.

INFORMATION INCORPORATED BY REFERENCE INTO THIS DISCLOSURE
STATEMENT SPEAKS AS OF THE DATE OF SUCH INFORMATION OR THE DATE OF
THE REPORT OR DOCUMENT IN WHICH SUCH INFORMATION IS CONTAINED OR AS
OF A PRIOR DATE AS MAY BE SPECIFIED IN SUCH REPORT OR DOCUMENT. ANY
STATEMENT CONTAINED IN A DOCUMENT INCORPORATED BY REFERENCE
HEREIN SHALL BE DEEMED TO BE MODIFIED OR SUPERSEDED FOR ALL PURPOSES
TO THE EXTENT THAT A STATEMENT CONTAINED IN THIS DISCLOSURE
STATEMENT OR IN ANY OTHER SUBSEQUENTLY FILED DOCUMENT WHICH IS ALSO
INCORPORATED OR DEEMED TO BE INCORPORATED BY REFERENCE, MODIFIES

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OR SUPERSEDES SUCH STATEMENT. ANY STATEMENT SO MODIFIED OR
SUPERSEDED SHALL NOT BE DEEMED, EXCEPT AS SO MODIFIED OR SUPERSEDED,
TO CONSTITUTE A PART OF THIS DISCLOSURE STATEMENT.

SOME ASSUMPTIONS INEVITABLY WILL NOT MATERIALIZE. FURTHER, EVENTS
AND CIRCUMSTANCES OCCURRING SUBSEQUENT TO THE DATE ON WHICH THE
FINANCIAL PROJECTIONS WERE PREPARED MAY BE DIFFERENT FROM THOSE
ASSUMED OR, ALTERNATIVELY, MAY HAVE BEEN UNANTICIPATED, AND, THUS,
THE OCCURRENCE OF THESE EVENTS MAY AFFECT FINANCIAL RESULTS IN A
MATERIALLY ADVERSE OR MATERIALLY BENEFICIAL MANNER. THEREFORE, THE
FINANCIAL PROJECTIONS MAY NOT BE RELIED UPON AS A GUARANTEE OR OTHER
ASSURANCE OF THE ACTUAL RESULTS THAT WILL OCCUR.

                                               *******

            DISCLOSURE REGARDING FORWARD-LOOKING STATEMENTS

         This Disclosure Statement contains forward-looking statements within the meaning of Section
27A of the Securities Act and Section 21E of the Securities Exchange Act of 1934, as amended (the
“Exchange Act”). All statements, other than statements of historical facts, included in this Disclosure
Statement that address activities, events or developments that the Debtors expect, project, believe or
anticipate will or may occur in the future are forward-looking statements. These statements can be
identified by the use of forward-looking terminology including “may,” “believe,” “anticipate,”
“estimate,” “continue,” “foresee,” “project,” “could,” or other similar words. These forward-looking
statements may include, but are not limited to, references to procedures in connection with the
Debtors’ bankruptcy cases and the distribution of the Debtors’ assets pursuant to the Plan, the
Debtors’ financial projections and liquidation analysis, and the Debtors’ future operating results.
Forward-looking statements are not guarantees of performance. The Debtors have based these
statements on the Debtors’ assumptions and analyses in light of the Debtors’ experience and
perception of historical trends, current conditions, expected future developments and other factors
the Debtors believe are appropriate in the circumstances. No assurance can be given that these
assumptions are accurate. Moreover, these statements are subject to a number of risks and
uncertainties.

        All subsequent written and oral forward looking information attributable to the Debtors is
expressly qualified in its entirety by the foregoing. In light of these risks, uncertainties, and
assumptions, the events anticipated by the Debtors’ forward-looking statements may not occur, and
you should not place any undue reliance on any of the Debtors’ forward-looking statements. The
Debtors’ forward-looking statements speak only as of the date made and the Debtors undertake no
obligation to update or revise their forward-looking statements, whether as a result of new
information, future events or otherwise.




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                                            ARTICLE I
                                         INTRODUCTION

Henry Resources is the primary investor in the Auto Investment Group, which will be the primary
investor in the Plan Sponsor (defined in the Plan). The Henry Family and the Auto Investment Group
care about the great people of West Texas and are excited about the opportunity to rebuild customer
loyalty, creditor relationships, and employment opportunities in West Texas through the proposed
chapter 11 plan. As a result, The Auto Investment Group led by Henry Resources and others has
agreed to support the plan, subject to certain conditions precedent and approvals, and believes that a
collaborative exit from bankruptcy is in the best interests of the bankruptcy estates, the creditors of
the bankruptcy estates, the manufacturers, the retail lenders, the floorplan lenders, potential employees
of the Reorganized Debtors, and the great people of West Texas.

The Auto Investment Group led by Henry Resources looks forward and is committed to using best
efforts to work with the creditors and manufacturers (e.g., Ford Motor, General Motors, Toyota, and
Mitsubishi) in these cases up to and past the confirmation hearing on a possible consensual bankruptcy
for the benefit of all involved. At the same time, The Auto Investment Group will also work with its
investors to receive approvals and capital commitments, subject to the conditions precedent to the
Effective Date of the Plan, for the group’s share of the equity financing proposed in the Plan. The
Debtors will file a notice with the Bankruptcy Court when they receive word from the Auto
Investment Group that it has such commitments.

This Disclosure Statement (“Disclosure Statement”) and the accompanying Ballots are being
furnished to you, the holders of Claims against and Interests in the Chapter 11 debtors Reagor Dykes
Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes Amarillo, LP, Reagor-Dykes Auto Company,
LP, Reagor-Dykes Floydada, LP, Reagor-Dykes Plainview, LP, Reagor-Dykes Snyder, L.P., Reagor
Auto Mall, Ltd., Reagor-Dykes Auto Mall I LLC, Reagor-Dykes II, LLC, and Reagor-Dykes III, LLC
(together, the “Debtors” or “Plan Proponents”), pursuant to Section 1125 of the United States
Bankruptcy Code in connection with the solicitation of ballots for the acceptance of the Second
Amended Plan of Reorganization (the “Plan”) proposed by the Debtors under chapter 11
(“Chapter 11”) of title 11 of the United States Code (the “Bankruptcy Code”).

Capitalized terms used in this Disclosure Statement and not defined herein shall have their respective
meanings as defined in the Plan or, if not defined in the Plan, as defined in the Bankruptcy Code.

On August 1, 2018, Debtors Reagor-Dykes Motors, LP, Reagor-Dykes Imports, LP, Reagor-Dykes
Amarillo, LP, Reagor-Dykes Auto Company, LP, Reagor-Dykes Floydada, LP, and Reagor-Dykes
Plainview, LP (collectively, the “Original Debtors”) filed voluntary petitions under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court, Northern District of Texas, Lubbock
Division (the “Bankruptcy Court”).

On November 2, 2018, Debtors Reagor-Dykes II, LLC, Reagor-Dykes III, LLC, Reagor Auto Mall ,
Ltd.(“RAM”), Reagor Auto Mall I, LLC, and Reagor-Dykes Snyder, L.P. (“Snyder”) (collectively, the
“New Debtors”) filed voluntary petitions under chapter 11 of the Bankruptcy Code in the
Bankruptcy Court. Both the Original Debtors’ Chapter 11 cases and the New Debtors Chapter 11
cases are jointly administered under case number 18-50214 (collectively, the “Chapter 11 Cases”).



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 The Debtors continue to operate and manage their estates (the “Estates”) as debtors and debtors-in-
 possession pursuant to §§ 1107 and 1108 of the Bankruptcy Code. As of the date of the filing of this
 Disclosure Statement, no Official Committee(s) of Unsecured Creditors have been appointed by the
 Office of the United States Trustee in the Debtors’ cases.

 The purpose of this Disclosure Statement is to enable those persons whose Claims against and whose
 Interests in the Debtors are Impaired and entitled to vote under the Plan to make an informed decision
 on whether to vote for or against the Plan. Holders of Claims should read this Disclosure Statement
 and the Plan in their entirety before voting on the Plan. The Disclosure Statement contains a brief
 history of the Debtors, a summary of the Chapter 11 Cases, summary of material provisions of the
 Plan – including provisions relating to the Plan’s treatment of Claims against and Interests in the
 Debtors – a discussion of Plan feasibility, administration of the Estates and Assets, the means of
 implementation of the Plan, and a liquidation analysis setting forth what Holders of a Claim against
 or Interest in the Debtors would recover if the Debtors were liquidated on the projected effective date
 under chapter 7 of the Bankruptcy Code. The Disclosure Statement also summarizes certain financial
 information concerning the Debtors and the Claims asserted against the Debtors in the Chapter 11
 Cases.

         Section 1.1    Voting Procedure.

 No solicitation of votes with respect to the Plan may be made except pursuant to this Disclosure
 Statement. No statement or information concerning the Debtors (particularly as to the results or
 financial condition of, or with respect to distributions to be made under the Plan) or any of the
 Debtors’ assets, properties or business that is given for the purpose of soliciting acceptances or
 rejections of the Plan, is authorized other than as set forth in this Disclosure Statement. EXCEPT
 FOR THE INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT AND THE
 EXHIBITS ATTACHED, NO REPRESENTATIONS CONCERNING THE DEBTORS, THE
 DEBTORS’ ASSETS AND LIABILTIES, THE PAST OR FUTURE OPERATIONS OF THE
 DEBTORS, THE PLAN AND ITS TERMS OR ALTERNATIVES TO THE PLAN ARE
 AUTHORIZED, NOR ARE ANY SUCH REPRESENTATIONS TO BE RELIED ON IN
 ARRIVING AT A DECISION WITH RESPECT TO THE PLAN. ANY INFORMATION
 REGARDING SUCH TOPIC AREAS THAT IS PROVIDED TO SECURE ACCEPTANCE OR
 REJECTION OF THE PLAN AND THAT IS NOT CONTAINED IN THIS DISLOSURE
 STATEMENT AND THE EXHIBITS ATTACHED IS UNAUTHORIZED AND SHOULD BE
 REPORTED IMMEDIATELY TO THE DEBTORS’ COUNSEL.

 While the Debtors believe that the Disclosure Statement contains adequate information about the
 documents and information summarized, Holders of Claims and Holders of Interests should review
 the entire Plan and each document referenced therein and herein, and should seek the advice of their
 own counsel and other advisors before voting on the Plan. In the event of any inconsistencies between
 the provisions of the Plan and this Disclosure Statement, the provisions of the Plan shall control. A
 copy of the Plan is attached as Exhibit “A” to this Disclosure Statement. Certain provisions of the
 Plan—and, therefore descriptions and summaries contained in this Disclosure Statement—may be
 the subject of continuing negotiations among the Debtors and various parties, may not have been
 finally agreed, and may be modified. However, such modifications will not have a material effect on
 the distributions contemplated by the Plan.



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 After carefully reviewing this Disclosure Statement and all exhibits and schedules attached hereto,
 please indicate your acceptance or rejection of the Plan by voting in favor of or against the Plan on
 the enclosed Ballot. The Debtors strongly urge each recipient entitled to vote on the Plan to review
 carefully the contents of this Disclosure Statement, the Plan, and the other documents that accompany
 or are referenced in this Disclosure Statement in their entirety before making a decision to accept or
 reject the Plan.

 IT IS OF THE UTMOST IMPORTANCE TO THE DEBTORS THAT YOU VOTE
 PROMPTLY TO ACCEPT THE PLAN BY COMPLETING AND SIGNING THE
 BALLOT ENCLOSED HEREWITH AND RETURNING THE BALLOTS PROMPTLY
 SO THAT THEY ARE STAMPED AS HAVING BEEN RECEIVED BY NO LATER
 THAN 5:00 P.M., CENTRAL STANDARD TIME, ON ________________, 2019 (THE
 “VOTING DEADLINE”) AT THE FOLLOWING ADDRESS, AS SET FORTH ON THE
 ENCLOSED RETURN ENVELOPE:

                                REAGOR DYKES BALLOTS
                         ATTN: MARCUS A. HELT AND ASHLEY ELLIS

                        C/O FOLEY GARDERE, FOLEY & LARDNER LLP
                            2021 MCKINNEY AVENUE, SUITE 1600
                                     DALLAS, TX 75201

 THE DEBTORS BELIEVE THAT ACCEPTANCE OF THE PLAN IS IN THE BEST
 INTERESTS OF ALL CLAIMANTS OF THE DEBTORS; CONSEQUENTLY, THE
 DEBTORS URGE ALL CLAIMANTS TO VOTE TO ACCEPT THE PLAN.

 Ballots that are received after the Voting Deadline may not be used in connection with the Debtors’
 request for confirmation of the Plan or any modification thereof, except to the extent allowed by the
 Bankruptcy Court.

 This Disclosure Statement has been compiled by the Debtors to accompany the Plan. The factual
 statements, projections, financial information, and other information contained in this Disclosure
 Statement have been taken primarily from documents prepared by the Debtors, including the Debtors’
 Schedules and Statement of Financial Affairs, the Debtors’ Monthly Operating Reports, and pleadings
 filed in the Bankruptcy Case. Nothing contained in this Disclosure Statement shall have any preclusive
 effect against the Debtors (whether by waiver, admission, estoppel, or otherwise) in any cause or
 proceeding which may exist or occur in the future. This Disclosure Statement shall not be construed
 or deemed to constitute an acceptance of fact or an admission by the Debtors with regard to any of
 the statements made herein, and all rights and remedies of the Debtors are expressly reserved in this
 regard. This Disclosure Statement contains statements which constitute the Debtors’ or other third
 parties’ views of certain facts. All such disclosures should be read as assertions of such parties. To the
 extent any paragraph does not contain an express reference that it constitutes an assertion of a
 particular party, it should be read as an assertion of the party indicated by the context and meaning of
 such paragraph.

 THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE
 EITHER AS OF THE PETITION DATE OR THE DATE HEREOF UNLESS ANOTHER
 TIME IS SPECIFIED HEREIN, AND NEITHER DELIVERY OF THIS DISCLOSURE

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 STATEMENT NOR ANY EXERCISE OF RIGHTS GRANTED IN CONNECTION WITH
 THE PLAN SHALL, UNDER ANY CIRCUMSTANCES, CREATE AN IMPLICATION THAT
 THERE HAS BEEN NO CHANGE IN THE INFORMATION SET FORTH HEREIN SINCE
 THE DATE OF THIS DISCLOSURE STATEMENT.

 CERTAIN OF THE INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT,
 BY ITS NATURE, IS FORWARD LOOKING, CONTAINS ESTIMATES AND ASSUMPTIONS
 WHICH MAY PROVE TO BE INACCURATE, AND CONTAINS PROJECTIONS WHICH
 MAY PROVE TO BE WRONG, OR WHICH MAY BE MATERIALLY DIFFERENT FROM
 ACTUAL FUTURE RESULTS. EACH CLAIMANT SHOULD INDEPENDENTLY VERIFY
 AND CONSULT ITS INDIVIDUAL ATTORNEY AND ACCOUNTANT AS TO THE EFFECT
 OF THE PLAN ON SUCH INDIVIDUAL CLAIMANT OR INTEREST HOLDER.

 Pursuant to the Disclosure Statement Order (“Exhibit D”), the hearing on the Confirmation of the
 Plan is set for [                          ]a/p.m., Central Standard Time, in the Courtroom of the
 Honorable Robert L. Jones, United States Bankruptcy Judge, United States Bankruptcy Court for the
 Northern District of Texas, Lubbock Division, 1205 Texas Ave., Room 306, Lubbock, Texas 79401.
 Objections to the Confirmation of the Plan must be filed with the Bankruptcy Court and received by
 counsel for the Debtors on or before [___________________________], 2019. Counsel for the
 Debtors will request Confirmation of the Plan at the Confirmation Hearing.

 Counsel for the Debtors strongly urges each recipient entitled to vote on the Plan to review carefully
 the contents of this Disclosure Statement, the Plan, and the other documents that accompany or are
 referenced in this Disclosure Statement in their entirety before making a decision to accept or reject
 the Plan.

         Section 1.2     Explanation of Chapter 11.

 Chapter 11 is the principal reorganization chapter of the Bankruptcy Code. Under Chapter 11, a
 person or entity attempts to reorganize its business and financial affairs for the benefit of its creditors,
 shareholders and other interested parties.

 The commencement of a Chapter 11 case creates an estate comprising all of a debtor’s legal and
 equitable interests in property as of the date the petition is filed. Unless the bankruptcy court orders
 the appointment of a Chapter 11 trustee, Bankruptcy Code sections 1101, 1107 and 1108 provide that
 a chapter 11 debtor may continue to operate its business and control the assets of its estate as a
 “debtor-in-possession” as the Debtors have done in these Chapter 11 Cases since the Petition Date.

 The filing of a Chapter 11 petition also triggers the automatic stay under section 362 of the Bankruptcy
 Code. The automatic stay is an injunction that halts essentially all attempts to collect pre-petition
 claims from the Debtors or to otherwise interfere with a Debtors’ business or their estates.

 Formulation of a plan of reorganization is the principal purpose of a Chapter 11 bankruptcy case. The
 plan sets forth the means for satisfying the claims of creditors against, and interests of equity security
 holders in, the Debtors. Unless a trustee is appointed, only the Debtors may file a plan during the first
 120 days of a Chapter 11 case (the “Exclusive Period”). Only after the Exclusive Period has expired
 or is terminated by the Bankruptcy Court, a creditor or any other interested party may file a plan,
 unless the Debtors file a plan within the Exclusive Period or receives an extension of such period by

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 order of the Bankruptcy Court. If the Debtors file a plan within the Exclusive Period, the Debtors are
 given sixty (60) additional days (the “Solicitation Period”) to solicit acceptances of its plan.
 Bankruptcy Code section 1121(d) permits the Bankruptcy Court to extend or reduce the Exclusive
 Period and the Solicitation Period upon a showing of adequate “cause.”

 After the plan has been filed, the holders of impaired claims against, or interests in, a debtor are
 permitted to vote on whether to accept or reject the plan. Chapter 11 does not require that each holder
 of a claim against, or interest in, a debtor vote in favor of a plan in order for the plan to be confirmed.
 At a minimum, however, a plan must be accepted by a majority in number (i.e., more than 50%) and
 at least two-thirds (2/3) in amount of those claims actually voting, from at least one class of impaired
 claims under the plan, to the extent that there are any impaired classes. The Bankruptcy Code also
 defines acceptance of a plan by a class of interests (equity securities) as acceptance by holders of at
 least two-thirds of the number of interests that actually voted.

 Classes of claims or interests that are not “impaired” under a plan of reorganization are conclusively
 presumed to have accepted the plan, and therefore are not entitled to vote. A class is “impaired” if
 the plan modifies the legal, equitable, or contractual rights attaching to the claims or interests of that
 class. Modification for purposes of impairment does not include curing defaults and reinstating
 maturity or payment in full in cash. Conversely, classes of claims or interests that receive or retain no
 property under a plan of reorganization are conclusively presumed to have rejected the plan, and
 therefore are not entitled to vote.

 Even if all classes of claims and interests accept a plan of reorganization, a bankruptcy court may
 nonetheless still deny confirmation. Bankruptcy Code section 1129 sets forth the requirements for
 confirmation and, among other things, requires that a plan be in the “best interests” of impaired and
 dissenting creditors and interest holders and that the plan be feasible. The “best interests” test
 generally requires that the value of the consideration to be distributed to impaired and dissenting
 creditors and interest holders under a plan may not be less than those parties would receive if the
 debtor were liquidated under a hypothetical liquidation occurring under chapter 7 of the Bankruptcy
 Code. A plan must also be determined to be “feasible,” which generally requires a finding that there
 is a reasonable probability that the debtor will be able to perform the obligations incurred under the
 plan and that the debtor will be able to continue operations without the need for further financial
 reorganization.

 A bankruptcy court may confirm a plan of reorganization even though fewer than all of the classes of
 impaired claims and interests vote to accept such plan. A bankruptcy court may do so under the
 “cramdown” provisions of section 1129(b) of the Bankruptcy Code. In order for a plan to be
 confirmed under the “cramdown” provisions, despite the rejection of a class of impaired claims or
 interests, the plan proponent must show, among other things, that the plan does not discriminate
 unfairly and that it is “fair and equitable” with respect to impaired classes of claims or interests that
 have not accepted the plan.

 A bankruptcy court must further find that the economic terms of the plan meet the specific
 requirements of Bankruptcy Code section 1129(b) with respect to the subject objecting class(es). If
 the plan proponent proposes to seek confirmation of the plan under the provisions of Bankruptcy
 Code section 1129(b), the plan proponent must also meet all applicable requirements of Bankruptcy
 Code section 1129(a) (except section 1129(a)(8)). Those requirements include, among other things,


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 that (i) the plan complies with applicable Bankruptcy Code provisions and other applicable law, and
 that (ii) the plan be proposed in good faith.

         Section 1.3      Rules of Interpretation.

        The following rules for interpretation and construction shall apply to the Disclosure
 Statement:

                     a)   all terms defined in the Plan shall carry the same definitions in
                          the Disclosure Statement unless otherwise defined herein;

                     b)   whenever from the context it is appropriate, each term,
                          whether stated in the singular or the plural, shall include both
                          the singular and the plural, and pronouns stated in the
                          masculine, feminine, or neuter gender shall include the
                          masculine, feminine, and the neuter gender;

                     c)   unless otherwise specified, any reference in the Disclosure
                          Statement to a contract, instrument, release, or other
                          agreement or document being in a particular form or on
                          particular terms and conditions means that such document
                          shall be substantially in such form or substantially on such
                          terms and conditions;

                     d)   unless otherwise specified, any reference in the Disclosure
                          Statement to an existing document, schedule, or exhibit,
                          whether or not filed, shall mean such document, schedule, or
                          exhibit, as it may have been or may be amended, modified, or
                          supplemented;

                     e)   any reference to a person or entity as a holder of a Claim or
                          Interest includes that person or entity’s successors and assigns;

                     f)   unless otherwise specified, all references in the Disclosure
                          Statement to Articles are references to Articles of the
                          Disclosure Statement;

                     g)   unless otherwise specified, all references in the Disclosure
                          Statement to exhibits are references to exhibits to the
                          Disclosure Statement;

                     h)   the words “herein,” “hereof,” and “hereto” refer to the
                          Disclosure Statement in its entirety rather than to a particular
                          portion of the Disclosure Statement;

                     i)   captions and headings to Articles are inserted for convenience
                          of reference only and are not intended to be a part of or to
                          affect the interpretation of the Disclosure Statement;

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                     j)   unless otherwise set forth in the Disclosure Statement, the
                          rules of construction set forth in section 102 of the Bankruptcy
                          Code shall apply;

                     k)   any term used in capitalized form in the Disclosure Statement
                          that is not otherwise defined in the Disclosure Statement, Plan,
                          or exhibits to the Disclosure Statement Order, but that is used
                          in the Bankruptcy Code or the Bankruptcy Rules shall have the
                          meaning assigned to such term in the Bankruptcy Code or the
                          Bankruptcy Rules, as applicable;

                     l)   all references to docket numbers of documents filed in the
                          Chapter 11 Cases are references to the docket numbers under
                          the Bankruptcy Court’s CM/ECF system;

                     m)   all references to statutes, regulations, orders, rules of courts,
                          and the like shall mean as amended from time to time, unless
                          otherwise stated;

                     n)   in computing any period of time prescribed or allowed, the
                          provisions of Bankruptcy Rule 9006(a) shall apply, and if the
                          date on which a transaction may occur pursuant to the
                          Disclosure Statement shall occur on a day that is not a Business
                          Day, then such transaction shall instead occur on the next
                          succeeding Business Day; and,

                     o)   unless otherwise specified, all references in the Disclosure
                          Statement to monetary figures shall refer to currency of the
                          United States of America.

         Section 1.4      Recommendation of the Debtors to Approve the Plan.

 The Debtors approved the solicitation of acceptances of the Plan and all of the transactions
 contemplated thereunder. In light of the benefits to be attained by the holders of Claims and Interests
 contemplated under the Plan, the Debtors recommend that such holders of Claims and Interests vote
 to accept the Plan. The Debtors reached this decision after considering the alternatives to the Plan
 that are available to the Debtors. These alternatives include liquidation under chapter 7 of the
 Bankruptcy Code or some alternative plan. The Debtors determined, after consulting with their
 advisors, that the transactions contemplated in the Plan would likely result in a distribution of greater
 value to creditors and stockholders than the alternatives.

 THE DEBTORS BELIEVE THAT THE PLAN AND THE TREATMENT OF CLAIMS AND
 INTERESTS THEREUNDER IS IN THE BEST INTERESTS OF HOLDERS OF CLAIMS AND
 INTERESTS.




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                                                      ARTICLE II
                                                      SUMMARY

 This Disclosure Statement sets forth certain information regarding the Debtors’ prepetition operating
 and financial history, the need to seek Chapter 11 protection, significant events that have occurred
 during the Chapter 11 Cases. This Disclosure Statement also describes terms and provisions of the
 Plan, including certain alternatives to the Plan, certain effects of confirmation of the Plan, certain risk
 factors associated with the Plan, and the manner in which distributions will be made under the Plan.
 In addition, this Disclosure Statement discusses the confirmation process and the voting procedures
 that Creditors in voting classes must follow for their votes to be counted. Certain provisions of the
 Plan, and thus the descriptions and summaries contained in this Disclosure Statement, may be the
 subject of continuing negotiations among the Debtors and various parties, may not have been finally
 agreed upon, and may be modified.

 The Debtors are the proponents of the Plan within the meaning of Section 1129 of the Bankruptcy
 Code. The Plan contains separate Classes and proposes recoveries for holders of Claims against and
 Interests in the Debtors. After careful review of the Debtors’ current business operations and
 estimated recoveries in a liquidation scenario under Chapter 7 of the Bankruptcy Code, the Debtors
 have concluded that the recovery to Creditors will be maximized by the reorganization or controlled
 liquidation of the Debtors as contemplated by the Plan. For your convenience, the following is a
 summary of certain material terms of the Plan. The Debtors encourage you to read the Plan in its
 entirety. The Plan is a comprehensive proposal by the Debtors that provides for the following:

          Section 2.1        Alternative Paths to the Effective Date

                         This Plan provides two (2) alternative paths to a successful exit
                         from Chapter 11 for the Debtors: (a) the Restructuring
                         Alternative, or (b) if the Plan does not go effective under the
                         Restructuring Alternative within seventy-five (75) days of
                         Confirmation,2 a controlled liquidation of assets via the
                         Liquidation Alternative. The Debtors believe that a Restructuring
                         would yield the highest and best return for all creditors and parties
                         in interest but, if the Debtors determine at any time – pre-
                         Confirmation or post-Confirmation – that despite their best
                         efforts the Plan cannot go effective under the Restructuring
                         Alternative, the Liquidation Alternative shall take effect. The most
                         likely circumstance that would cause the Plan to proceed under the
                         Liquidation Alternative is if the Debtors are unable to reach an
                         agreement for a New Equity Infusion with a Plan Sponsor within
                         the timeframe to which the United States Trustee has agreed and
                         that timeframe is not extended by agreement or further order of
                         the Court.

 2 Under the Plan, the Restructuring Alternative must go effective within seventy-five (75) days of the Confirmation Date
 unless otherwise agreed by the United States Trustee or approved by the Court. Any request to extend this seventy-five
 (75) day deadline must be filed prior to the expiration of same. The timely filing of such a motion shall toll the expiration
 of the deadline until further ruling by the Court.


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                         GM Financial raised the concern that inclusion of the
                         Restructuring Alternative in the Plan is somehow confusing or not
                         in the best interest of creditors. The Debtors disagree and would
                         state in response that there can be no bona fide dispute that the
                         Restructuring Alternative will generate more value for all creditors,
                         especially Ford, Ford Credit, GM, and GM Financial. If the
                         Restructuring Alternative is not attainable, the Plan contemplates
                         a controlled Liquidation Alternative overseen by a Creditors
                         Trustee with historical knowledge and experience with these
                         Debtors (Lyndon James, a principal of the Debtors’ CRO), which
                         the Debtors believe is a better option than a liquidation under
                         chapter 7.

        Section 2.2 Plan and Treatment of Claims – Restructuring Alternative. Under the
 Restructuring Alternative, the Plan will effectuate a reorganization of the Dealerships, the business,
 and the operations. Pursuant to the terms of the Plan and a Restructuring:

                     a) The Dealerships will be recapitalized by the Plan Sponsor or its
                        designee. The Reorganized Debtors will retain their operating
                        assets3 together with Causes of Action not resolved by this Plan,
                        and will continue to operate their business under a name selected
                        by the Plan Sponsor.

                     b) The franchise agreements with Ford Motor, General Motors,
                        Mitsubishi, and Toyota will be assumed in the Plan.

                     c) Post-confirmation, the Reorganized Debtors will benefit from the
                        proven operational expertise of Fin Ewing and his consulting
                        group (collectively, the “Fin Ewing Group”). The Fin Ewing
                        Group will provide consulting services to the Reorganized
                        Debtors. These consulting services will help the Reorganized
                        Debtors accomplish their long-term business and financial goals as
                        outlined in the Plan.

                     d) Directors and officers of the Reorganized Debtors will be
                        identified in the Plan Supplement Documents.4




 3 To clarify the scope of this reference to “operating assets,” under the Restructuring Alternative, the Debtors will retain
 all assets listed on the current balance sheet attached to this Disclosure Statement as Exhibit H. To the extent that a
 secured creditor has obtained relief from the stay and repossessed its collateral, such collateral has been excluded from the
 Plan and Post-Confirmation Business Plan and the cost of obtaining replacement collateral as/if needed is likewise
 accounted for in the reorganization projections. The lift-stay orders from the Court each contain a reporting requirement
 so that secured creditors are required to account for the value of liquidated collateral; the treatment of unsecured deficiency
 claims is set forth in the Plan.
 4 The Debtors believe that the timing for filing the Plan Supplement Documents is sufficient and adequate disclosure of
 the information contained therein, given the circumstances of this case. Unless otherwise ordered by the Court, the

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                     e) The Reorganized Debtors are expected to receive up to $13 mm
                        in cash (the “New Equity Infusion”) from the Plan Sponsor.
                        The New Equity Infusion may be a combination of (i) debtor-in-
                        possession financing approved by the Bankruptcy Court and
                        received by the Debtors before the Confirmation in a yet-to-be-
                        determined amount and (ii) equity financing received by the
                        Debtors after the Confirmation.5

                     f) The New Equity Infusion will be used as follows: (i) approximately
                     $4.3 million as initial post-confirmation working capital on an as-
                     needed basis; (ii) pay all allowed, administrative expenses of the
                     Estates, which such expenses are estimated to be approximately $5
                     million; (iii) approximately $.700 million to Qualified Retail Lenders in
                     Class 9; (v) up to approximately $2 million to Ford Credit if certain
                     conditions are satisfied; and (v) up to approximately $1.5 million to
                     GM Financial if certain conditions are satisfied, including if GM
                     Financial provides floorplan financing to the Reorganized Debtors.6

                     g) The equity of the Reorganized Debtors will be owned (i) 90% by
                        the Plan Sponsor or its designee and (ii) 10% by a Creditors Trust
                        for the express benefit of creditors holding Allowed Class 11
                        General Unsecured Claims.7

                     h) Each Allowed Class 11 Claim will receive a beneficial interest in
                        the Creditors Trust. In addition to the 10% equity interest in the
                        Reorganized Debtors, the Creditors Trust Assets will include $1
                        million in cash contributed by Rick Dykes.

                     i) Each beneficial interest and the 10% equity will be subject to a
                        redemption right that will allow the Reorganized Debtors to
                        redeem this equity upon payment in full of the Allowed amount of
                        Unsecured Claims converted to equity or such amount agreed by
                        the holders of such Unsecured Claims and the Reorganized
                        Debtors. After distributions to holders of Allowed Class 11


 Debtors will file the appropriate Notice of the Plan Supplement Documents, as set forth in the Plan, not less than 10 days
 prior to the voting deadline.
 5For clarity, “equity financing” as used in the term New Equity Infusion is the process of raising capital through the sale
 of shares of stock.
 6 The Plan contemplates up to $13 mm in equity financing, because $13 mm may not be necessary. If less than $13 mm
 is received and the Debtors still believe that the Restructuring Alternative is nonetheless feasible, then the Debtors will
 present that evidence to the Court at confirmation as evidence of feasibility. If not, the Debtors will proceed to
 Confirmation of the Plan via the Liquidation Alternative.
 7 The projections in the Post-Confirmation Business Plan show what the Debtors project the reorganized entity to generate
 on an EBITDA basis, which is an integral component to an overall enterprise-value calculation. How much of that value
 is paid to the equity stakeholders through dividends will be determined by the Reorganized Debtors’ board, which is
 common in similar situations.


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                         Unsecured Claims reach a total of $7.5 million, the Creditors’ Trust
                         will surrender this 10% equity interest to the Reorganized Debtors.

                     j) The Creditors Trust will make distributions to all Allowed
                        Unsecured Claims in Class 11 pursuant to the terms and conditions
                        of this Plan and a Creditors Trust Agreement.

                     k) The Reorganized Debtors will assume certain unsecured Assumed
                        Trade Claims under this Plan. The identity of such assumed
                        unsecured Assumed Trade Claims will be disclosed in the Plan
                        Supplement. Such Assumed Trade Claims will be treated in Class
                        10 and will not participate in Class 11.

                     l) Ford Credit’s secured claim will be paid in full by surrender of
                        Collateral.

                     m) Ford Credit’s unsecured claim will be paid from Excess Cash Flow
                        and only after payment of all Allowed Administrative Expenses by
                        (i) a $1 million cash payment in 2020, (ii) a $1 million cash payment
                        in 2021 and (iii) a $5 million unsecured promissory note.8

                     n) The $5 million unsecured promissory note payable to Ford Credit
                        will have the following terms: (i) 10-year amortization, (ii) 7-year
                        balloon payment, (iii) 6.5% interest per annum, (iv) payment-in-
                        kind interest for 12 months, and (v) payable thereafter from Excess
                        Cash Flow.

                     o) Payment of the $2.0 million to Ford Credit is subject to and
                     conditioned on (i) the assumption of the Debtors’ franchise
                     agreements with Ford Motor or issuance of a new franchise
                     agreement(s), and (iii) implementation of the Restructuring Alternative
                     under the Plan.

                     p) GM Financial’s secured claim will be paid in full by surrender of
                        Collateral.

                     q) GM Financial’s unsecured claim will be paid as follows: As a
                        settlement and full and final satisfaction and release of all
                        unsecured claims, GM Financial will receive (i) $750,000 from
                        Excess Cash Flow by the later of (x) 180 days after the Effective

 8 The Debtors will explain at the Confirmation Hearing why Ford Credit and GM Financial deserve the treatment provided
 in the Plan. That said, among other reasons, the Debtors identify the following two reasons. First, Ford Credit provided
 10 to 20 times more floor-plan credit to the Debtors prior to bankruptcy than GM Financial provided to the Debtors
 during that same period. Second, the Reorganized Debtors contemplate a restructuring around two Ford dealerships and
 one General Motors dealership. As with GM Financial, any payment to Ford Credit is subject to and conditioned on
 meeting a number of criteria identified in the Plan. Meeting these criteria will aid in the restructuring, which will benefit
 all unsecured creditors.


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                         Date and (y) payment of all Allowed Administrative Expenses, and
                         (ii) another $750,000 from Excess Cash Flow no later than twelve
                         (12) months after the first payment of $750,000 to GM Financial.

                     r) Payment of the $1.5 million is subject to and conditioned on (i)
                        GM Financial providing floorplan financing to the Reorganized
                        Debtors on mutually agreed terms, (ii) the assumption of the
                        Debtors’ franchise agreement with General Motors or issuance of
                        a new franchise agreement, and (iii) implementation of the
                        Restructuring Alternative under the Plan.

                     s) First Capital Bank’s secured claim will be paid as follows: In full
                        and final satisfaction of all First Capital’s secured claims against the
                        Debtors, First Capital Bank will receive (a) the net proceeds from
                        the liquidation of collateral after payment of (i) all fees incurred
                        and (ii) expenses reimbursed related to the liquidation of such
                        collateral, or (b) surrender of collateral.

                     t) First Capital Bank’s unsecured claim is a Disputed Claim. To the
                        extent Allowed, First Capital Bank’s unsecured claim will be
                        treated in Class 11 and paid as follows: In full and final satisfaction
                        and release of all First Capital’s unsecured claims against the
                        Debtors, First Capital Bank will receive its Pro Rata Share of
                        Creditors Trust Assets, which includes 10% equity securities of the
                        Reorganized Debtors. All Causes of Action against First Capital
                        Bank are reserved under this Plan.

                     u) FB&T’s secured claim will be paid as follows: In full and final
                        satisfaction of all secured claims against the Debtors, FB&T will
                        receive (a) the net proceeds from the liquidation of collateral after
                        payment of (i) all fees incurred and (ii) expenses reimbursed related
                        to the liquidation of such collateral, or (b) surrender of collateral.

                     v) FB&T’s unsecured claim is a Disputed Claim. To the extent
                        Allowed, FB&T’s unsecured claim will be treated in Class 11 and
                        paid as follows: In full and final satisfaction and release of all
                        FB&T’s unsecured claims against the Debtors, FB&T will receive
                        its Pro Rata Share of Creditors Trust Assets, which includes 10%
                        equity securities of the Reorganized Debtors. All Causes of Action
                        against FB&T are reserved under this Plan.

                     w) Pursuant to the Plan, the Dealerships or Locations will be operated
                        on the same real estate where the Dealerships or Locations were
                        operated prior to and during the bankruptcy case. That real estate
                        is now owned by IBC Bank. IBC Bank has given Rick Dykes and
                        his assigns both an option right and a right of first refusal to
                        purchase the real estate at mutually-agreed and confidential “strike


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                         prices.” To facilitate the proposed Restructuring, Rick Dykes has
                         agreed to assign his option and right of first refusal to the
                         Reorganized Debtors to implement the Restructuring Alternative.

                     x) Each Qualified Retail Lender who (i) executes a TT&L Agreement,
                        (ii) provides the Reorganized Debtors with proof of payment of a
                        TT&L/Trade Liability, and (iii) agrees to provide future retail
                        lending to the Reorganized Debtors on terms mutually acceptable
                        to the Reorganized Debtors and said Retail Lender, thereby
                        becoming a Qualified Retail Lender, will be reimbursed their Pro
                        Rata Share for payment of the Debtors’ TT&L/Trade Liability
                        either (x) within sixty (60) days after the Effective Date if funds are
                        immediately available or (y) via receipt of an unsecured promissory
                        note payable by the Reorganized Debtors at 3% interest per annum
                        with a two-year term.9 Such reimbursement will be made from the
                        Qualified Retail Lender Pool. This Qualified Retail Lender Pool
                        will be up to $.700 million.

                     y) Allowed Administrative Claims will be paid at or before the
                        Effective Date, or on such terms as the Reorganized Debtors and
                        the holder of an Allowed Administrative Claim may otherwise
                        agree.

          Section 2.3 Plan and Treatment of Claims – Liquidation Alternative. Under the
          Liquidation Alternative, the Plan will effect an orderly wind down of the Debtors’ business
          operations, a controlled liquidation of all Collateral, and the transfer of all Causes of Action
          to the Creditors Trust. Pursuant to the terms of the Plan and the Liquidation Alternative:

                      a) A Creditors Trust will be established and the Creditors Trustee will
                         be appointed upon Confirmation.

                      b) All Assets, including Causes of Action, and all rights to challenge
                         the extent, priority and validity of alleged liens, and all Collateral
                         not surrendered under the terms of this Plan will be transferred to
                         the Creditors Trust and the Creditors Trustee.

                      c) All Holders of Allowed Administrative Claims will be paid from
                         liquidation proceeds in their relative priorities, all Holders of
                         Allowed Unsecured Claims will receive a beneficial interest in the
                         Creditors Trust equal to the pro rata amount of their Allowed
                         Unsecured Claim, and the Creditors Trustee will make
                         distributions to all Allowed Unsecured Claims in Class 11 pursuant

 9 The current intention of the Debtors is pay the Qualified Retail Lenders cash if the conditions stated in the Plan are
 satisfied. It is possible that the Qualified Retail Lenders will receive a note instead of cash. The decision on whether to
 pay cash or a note to the Qualified Retail Lenders will be based on the Reorganized Debtors’ exercise of business judgment.



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                        to the terms and conditions of this Plan and a Creditors Trust
                        Agreement.

                     d) Ford Credit’s Allowed Secured Claim will be paid in full by
                        surrender of Collateral.

                     e) Ford Credit’s Unsecured Claim is a Disputed Claim. To the extent
                        Allowed, Ford Credit’s Unsecured Claim will be treated in Class 12
                        and paid as follows: In full and final satisfaction and release of all
                        Ford Credit’s Unsecured Claims against the Debtors, Ford Credit
                        will receive its Pro Rata Share of the Creditors Trust Assets. All
                        Causes of Action against Ford Credit are reserved under the
                        Liquidation Alternative in this Plan.

                     f) GM Financial’s Allowed Secured Claim will be paid in full by
                        surrender of Collateral.

                     g) GM Financial’s Unsecured Claim is a Disputed Claim. To the
                        extent Allowed, GM Financial’s Unsecured Claim will be treated
                        in Class 13 and paid as follows: In full and final satisfaction and
                        release of all GM Financial’s Unsecured Claims against the
                        Debtors, GM Financial will receive its Pro Rata Share of the
                        Creditors Trust Assets. All Causes of Action against GM Financial
                        are reserved under the Liquidation Alternative in this Plan.

                     h) FB&T’s secured claim is a Disputed Claim. To the extent Allowed,
                        FB&T’s Secured Claim will be paid as follows: In full and final
                        satisfaction of all secured claims against the Debtors, FB&T will
                        receive (i) the net proceeds from the liquidation of collateral after
                        payment of (x) all fees incurred and (y) expenses reimbursed
                        related to the liquidation of such collateral, or (ii) surrender of
                        collateral.

                     i) FB&T’s unsecured claim is a Disputed Claim. To the extent
                        Allowed, FB&T’s unsecured claim will be treated in Class 11 and
                        paid as follows: In full and final satisfaction and release of all
                        FB&T’s unsecured claims against the Debtors, FB&T will receive
                        its Pro Rata Share of the Creditors Trust Assets. All Causes of
                        Action against FB&T are reserved under this Plan.

                     j) The Creditors Trust shall make distributions to Holders of
                        Allowed Class 11 Unsecured Claims of their Pro Rata Share
                        (calculated together with Allowed Claims in Classes 12, 13, 14 and
                        15) of the Creditors Trust Assets.




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 Regardless of the alternative under which the Plan proceeds to an Effective Date, all Causes of Action
 are hereby preserved.10 Also upon the Effective Date, as more fully detailed in the Plan, the Released
 Parties (defined in the Plan as the Debtors, Professionals of the Estates, and the Plan Sponsor
 (inclusive of Rick Dykes) are released and discharged by the Releasing Parties11 from any and all claims
 and Causes of Action related to, among other things as set forth in detail in the Plan, the Debtors, the
 Chapter 11 Cases, and the Plan.

 With regard to executory contracts and unexpired leases, if the Restructuring takes place, the Plan
 operates as a motion under § 365 to assume all agreements, including sales and service agreements,
 under which the Debtors operate automotive/vehicle franchise agreements at the Dealerships,
 including such agreements with Mitsubishi, Toyota, General Motors, and Ford Motor Company. For
 all other Executory Contracts or Unexpired Leases, and for the foregoing automotive/vehicle
 franchise agreements in the event of the Liquidation Alternative, every Executory Contract and
 Unexpired Lease shall be deemed rejected unless it is identified on the Schedule of Assumed
 Executory Contracts and Unexpired Leases. Specifically with regard to the real property lease with
 Patti Sue Noel as lessor, under the Restructuring Alternative such lease will be assumed pursuant to
 the terms and conditions set forth in the prior order of the Bankruptcy Court governing such
 assumption.

 Creditors holding Allowed Claims shall receive the following treatment under the Plan:

                      CLAIMANT                      TREATMENT:                                TREATMENT:
                                                   RESTRUCTURING                              LIQUIDATION
      CLASS                                         ALTERNATIVE                               ALTERNATIVE

          1.     ALLOWED                     Shall receive (i) Cash in an amount     Shall receive (i) Cash in an amount
                 PRIORITY NON-               equal to the Allowed amount of          equal to the Allowed amount of
                 TAX CLAIMS                  such Priority Non-Tax Claim on          such Priority Non-Tax Claim on
                                             the Effective Date or (ii) other        the Effective Date or (ii) other
                                             treatment consistent with the           treatment consistent with the
                                             provisions of § 1129(a)(9) of the       provisions of § 1129(a)(9) of the
                                             Bankruptcy Code; provided, however,     Bankruptcy Code.
                                             that Priority Non-Tax Claims that
                                             arise in the ordinary course of the
                                             Debtors’ business shall be paid by
                                             the Debtors or the Reorganized
                                             Debtors, as applicable, in the
                                             ordinary course of business.

        1A.      ALLOWED   9019 Shall receive Cash as soon Shall receive Cash as soon
                 LUBBOCK        reasonably practicable when funds reasonably practicable when funds
                 COUNTY CLAIM   are available after the Effective are available after the Effective

 10Ford Credit asserts a "replacement" lien in certain assets, including non-Chapter 5 claims and causes of action. It is
 unclear whether Ford Credit in fact asserts a lien on tort claims held by the Debtors. The Debtors dispute any suggestion
 that (a) this replacement lien (x) covers Chapter 5 Causes of Action, commercial tort claims, or collateral different than
 collateral held by Ford Credit prior to the bankruptcy, and (y) is not limited to diminution in value and (b) that Ford Credit
 has an Allowed Claim to support any asserted lien.
 11   Please see footnote 9 for a discussion of Releasing Parties.


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                 CLAIMANT                TREATMENT:                   TREATMENT:
                                       RESTRUCTURING                 LIQUIDATION
  CLASS                                  ALTERNATIVE                 ALTERNATIVE
                                 Date consistent with the 9019 Date consistent with the 9019
                                 Order. Any amounts due to Order.
                                 Lubbock County Tax Assessor will
                                 be paid before payment to General
                                 Unsecured Creditors.


     2.      SECURED CLAIM Ford Credit’s Class 2 Claim will be          Ford Credit’s Class 2 Claim will be
             OF       FORD paid by surrender of the Collateral.         paid by surrender of the Collateral.
             CREDIT
             COMPANY, LLC  The amount, validity, extent, value,         The amount, validity, extent, value,
                           and priority of the Allowed                  and priority of the Allowed
                           Secured Class 2 Claim under § 506            Secured Class 2 Claim under § 506
                           of the Bankruptcy Code will be               of the Bankruptcy Code will be
                           determined by the Bankruptcy                 determined by the Bankruptcy
                           Court after the Effective Date or            Court after the Effective Date.
                           pursuant to an agreement between             Any Deficiency Claim or other
                           the Reorganized Debtors and the              Unsecured Claim of the Holder of
                           Holder of the Class 2 Claim. Any             the Class 2 Claim shall be treated in
                           Deficiency Claim or other                    Class 12.
                           Unsecured Claim of the Holder of
                           the Class 2 Claim shall be treated
                           in Class 12.


     3.      SECURED CLAIM       GM Financial’s Class 3 Claim will GM Financial’s Class 3 Claim will
             OF GM               be paid by surrender of the be paid by surrender of the
             FINANCIAL           Collateral.                       Collateral.

                                 The amount, validity, extent, value,   The amount, validity, extent, value,
                                 and priority of the Allowed            and priority of the Allowed
                                 Secured Class 3 Claim under § 506      Secured Class 3 Claim under § 506
                                 of the Bankruptcy Code will be         of the Bankruptcy Code will be
                                 determined by the Bankruptcy           determined by the Bankruptcy
                                 Court after the Effective Date or      Court after the Effective Date.
                                 pursuant to an agreement between       Any Deficiency Claim or other
                                 the Reorganized Debtors and the        Unsecured Claim of the Holder of
                                 Holder of the Class 3 Claim. Any       the Class 3 Claim shall be treated in
                                 Deficiency Claim or other              Class 13.
                                 Unsecured Claim of the Holder of
                                 the Class 3 Claim shall be treated
                                 in Class 13.




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                 CLAIMANT            TREATMENT:                              TREATMENT:
                                    RESTRUCTURING                            LIQUIDATION
  CLASS                              ALTERNATIVE                             ALTERNATIVE

     4.      SECURED CLAIM    The Class 4 Claim will be satisfied    First Capital Bank’s Class 4 Claim
             OF FIRST         in full and final satisfaction,        will be satisfied in full by surrender
             CAPITAL BANK     settlement, release, and discharge     of the Collateral.
                              of such Class 4 Claim (a) pursuant
                              to an agreement between the            The amount, validity, extent, value,
                              Reorganized Debtors and the            and priority of the Allowed
                              Holder of Class 4 Claim or (b) if      Secured Class 4 Claim under § 506
                              no agreement is reached, at the        of the Bankruptcy Code will be
                              Reorganized Debtors’ sole and          determined by the Bankruptcy
                              absolute option, (i) the net           Court after the Effective Date.
                              proceeds from the liquidation of       Any Deficiency Claim or other
                              collateral after payment of all fees   Unsecured Claim of the Holder of
                              incurred and expenses reimbursed       the Class 4 Claim shall be treated in
                              related to the liquidation of such     Class 11.
                              collateral, or (ii) surrender of
                              collateral.

                              The amount, validity, extent, value,
                              and priority of the Allowed
                              Secured Class 4 Claim under § 506
                              of the Bankruptcy Code will be
                              determined by the Bankruptcy
                              Court after the Effective Date or
                              pursuant to an agreement between
                              the Reorganized Debtors and the
                              Holder of the Class 4 Claim. Any
                              Deficiency Claim or other
                              Unsecured Claim of the Holder of
                              the Class 4 Claim shall be treated
                              in Class 11.

     5.      CLAIM OF FIRST   The Class 5 Claim will be satisfied    FB&T’s Class 5 Claim will be paid
             BANK & TRUST     in full and final satisfaction,        by surrender of the Collateral.
                              settlement, release, and discharge
                              of such Class 5 Claim (a) pursuant     The amount, validity, extent, value,
                              to an agreement between the            and priority of the Allowed
                              Reorganized Debtors and the            Secured Class 5 Claim under § 506
                              Holder of Class 5 Claim or (b) if      of the Bankruptcy Code will be
                              no agreement is reached, at the        determined by the Bankruptcy
                              Reorganized Debtors’ sole and          Court after the Effective Date.
                              absolute option, (i) the net           Any Deficiency Claim or other
                              proceeds from the liquidation of       Unsecured Claim of the Holder of
                              collateral after payment of all fees   the Class 5 Claim shall be treated in
                              incurred and expenses reimbursed       Class 11.
                              related to the liquidation of such
                              collateral, or (ii) surrender of
                              collateral.

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                 CLAIMANT           TREATMENT:                              TREATMENT:
                                   RESTRUCTURING                            LIQUIDATION
  CLASS                             ALTERNATIVE                             ALTERNATIVE

                             The amount, validity, extent, value,
                             and priority of the Allowed
                             Secured Class 5 Claim under § 506
                             of the Bankruptcy Code will be
                             determined by the Bankruptcy
                             Court after the Effective Date or
                             pursuant to an agreement between
                             the Reorganized Debtors and the
                             Holder of the Class 5 Claim. Any
                             Deficiency Claim or other
                             Unsecured Claim of the Holder of
                             the Class 5 Claim shall be treated
                             in Class 11.


     6.      SECURED CLAIM   The Class 6 Claim will be satisfied    AIM Bank’s Class 6 Claim will be
             OF AIM BANK     in full and final satisfaction,        paid by surrender of the Collateral.
                             settlement, release, and discharge
                             of such Class 6 Claim (a) pursuant     The amount, validity, extent, value,
                             to an agreement between the            and priority of the Allowed
                             Reorganized Debtors and the            Secured Class 6 Claim under § 506
                             Holder of Class 6 Claim or (b) if      of the Bankruptcy Code will be
                             no agreement is reached, at the        determined by the Bankruptcy
                             Reorganized Debtors’ sole and          Court after the Effective Date.
                             absolute option, (i) the net           Any Deficiency Claim or other
                             proceeds from the liquidation of       Unsecured Claim of the Holder of
                             collateral after payment of all fees   the Class 6 Claim shall be treated in
                             incurred and expenses reimbursed       Class 11.
                             related to the liquidation of such
                             collateral, or (ii) surrender of
                             collateral.

                             The amount, validity, extent, value,
                             and priority of the Allowed
                             Secured Class 6 Claim under § 506
                             of the Bankruptcy Code will be
                             determined by the Bankruptcy
                             Court after the Effective Date or
                             pursuant to an agreement between
                             the Reorganized Debtors and the
                             Holder of the Class 6 Claim. Any
                             Deficiency Claim or other
                             Unsecured Claim of the Holder of
                             the Class 6 Claim shall be treated
                             in Class 11.




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                 CLAIMANT           TREATMENT:                               TREATMENT:
                                   RESTRUCTURING                             LIQUIDATION
  CLASS                             ALTERNATIVE                              ALTERNATIVE

     7.      SECURED CLAIM   The Class 7 Claim will be satisfied     Vista Bank’s Class 7 Claim will be
             OF VISTA BANK   in full and final satisfaction,         paid by surrender of the Collateral.
                             settlement, release, and discharge
                             of such Class 7 Claim (a) pursuant      The amount, validity, extent, value,
                             to an agreement between the             and priority of the Allowed
                             Reorganized Debtors and the             Secured Class 7 Claim under § 506
                             Holder of Class 7 Claim or (b) if       of the Bankruptcy Code will be
                             no agreement is reached, at the         determined by the Bankruptcy
                             Reorganized Debtors’ sole and           Court after the Effective Date.
                             absolute option, (i) the net            Any Deficiency Claim or other
                             proceeds from the liquidation of        Unsecured Claim of the Holder of
                             collateral after payment of all fees    the Class 7 Claim shall be treated in
                             incurred and expenses reimbursed        Class 11.
                             related to the liquidation of such
                             collateral, or (ii) surrender of
                             collateral.

                             The amount, validity, extent, value,
                             and priority of the Allowed
                             Secured Class 7 Claim under § 506
                             of the Bankruptcy Code will be
                             determined by the Bankruptcy
                             Court after the Effective Date or
                             pursuant to an agreement between
                             the Reorganized Debtors and the
                             Holder of the Class 7 Claim. Any
                             Deficiency Claim or other
                             Unsecured Claim of the Holder of
                             the Class 7 Claim shall be treated
                             in Class 11.

     8.      OTHER           Holders of Allowed Class 8              Holders of Allowed Class 8 Claims,
             SECURED         Claims, if any, shall be designated     if any, shall be designated as Class
             CLAIMS          as Class 8A, Class 8B et seq. and       8A, Class 8B et seq. and will be paid
                             shall be satisfied at the               by surrender of the Collateral.
                             Reorganized Debtors’ option by (i)
                             payment of such Allowed Secured         The amount, validity, extent, value,
                             Claim in full in cash, including        and priority of the Allowed
                             interest, if applicable, as required    Secured Class 8 Claim under § 506
                             under § 506(b) of the Bankruptcy        of the Bankruptcy Code will be
                             Code; (ii) delivery of the Collateral   determined by the Bankruptcy
                             securing such Allowed Secured           Court after the Effective Date.
                             Claim; or (iii) issuance of a           Any Deficiency Claim or other
                             restructured note with a present        Unsecured Claim of the Holder of
                             value equal to the amount of the        the Class 8 Claim shall be treated in
                             value of each Holder’s Collateral       Class 11.
                             with interest payable at a rate of

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                 CLAIMANT             TREATMENT:                        TREATMENT:
                                   RESTRUCTURING                        LIQUIDATION
  CLASS                              ALTERNATIVE                        ALTERNATIVE
                             3% annually, and payable in full in
                             ten (10) years.

                             The amount, validity, extent, value,
                             and priority, of any asserted Class
                             8 Claim under § 506 of the
                             Bankruptcy Code will             be
                             determined by the Bankruptcy
                             Court after the Effective Date or
                             pursuant to an agreement between
                             the Reorganized Debtors and the
                             Holder of the Class 8 Claim. Any
                             Deficiency Claim or other
                             Unsecured Claim of the Holder of
                             the Class 8 Claim shall be treated
                             in Class 11.


     9.      CLAIMS OF       As full and final satisfaction, N/A            under     Liquidation
             QUALIFIED       settlement, release, and discharge Alternative
             RETAIL          of such Class 9 Claim, each
             LENDERS FOR     Qualified Retail Lender in Class 9
             PAYMENT OF      will receive its Pro Rata Share from
             TT&L/TRADE      the Qualified Retail Lender Pool
             LIABILITY       for reimbursement for such
                             Qualified Retail Lenders’ payment
                             of a TT&L/Trade Liability.



     10.     ASSUMED         As full and final satisfaction, N/A            under     Liquidation
             TRADE CLAIMS    settlement, release, and discharge Alternative
                             of such Class 10 Claim, against
                             each member of the Plan Sponsor,
                             the Debtors, and the Reorganized
                             Debtors, each Holder of a Class 10
                             Claim will receive payment in full,
                             over time, through the assumption
                             of the indebtedness underlying the
                             Allowed Class 10 Claim payable on
                             terms to be agreed by each Holder
                             of an Assumed Trade Claim and
                             the Reorganized Debtors.


     11.                     As full and final satisfaction, As full and final satisfaction,
                             settlement, release, and discharge settlement, release, and discharge
                             of each Class 11 Claim against the of each Class 11 Claim against the

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                   CLAIMANT                        TREATMENT:                                 TREATMENT:
                                                RESTRUCTURING                                 LIQUIDATION
      CLASS                                       ALTERNATIVE                                ALTERNATIVE
               GENERAL                     Debtors, each member of the Plan           Debtors, each Holder of a Class 11
               UNSECURED                   Sponsor, and the Reorganized               Claim shall be satisfied by Pro Rata
               CLAIMS12                    Debtors, each Holder of a Class 11         Share (calculated together with
                                           Claim shall be satisfied by Pro Rata       Allowed Claims in Classes 12, 13,
                                           Share of Distributions from                14 and 15) of Distributions from
                                           Creditors Trust Assets.13                  the Creditors Trust Assets.




       12.                                 Ford Credit’s Unsecured Claim              Ford Credit’s Unsecured Claim is a
                                           will be paid from Excess Cash              Disputed Claim. To the extent
                                           Flow and only after payment of             Allowed, Ford Credit’s Unsecured
                                           all   Allowed     Administrative           Claim will be treated in Class 12
                                           Expenses by (i) a $1 million cash          and paid as follows: In full and


 12General Unsecured Creditors are included within the definition of “Releasing Parties” as set forth in the Plan. Releasing
 Parties is defined, in relevant part, as Holders of Claims who vote to accept the Plan but do not “opt out” of the releases
 on the Ballot, Holders of Claims whose vote to accept or reject the Plan is solicited but who do not vote to either accept
 or reject this Plan; and Holders of Claims who vote to reject the Plan but do not “opt out” of the releases on the
 Ballot. The Office of the United States Trustee has expressed the opinion that (i) non-consensual third party releases
 violate 5th Circuit precedent set in Bank of N.Y. Trust Co. v. Off’l Unsecured Creditors’ Comm. (In re Pacific Lumber Co.), 584
 F.3d 229 (5th Cir. 2009), (ii) Creditors who do not vote to accept or reject the Plan should not be deemed to be Releasing
 Parties, and (iii) the ability of a Creditor to “opt out” of the releases on the Ballot is insufficient to create a consensual
 release. The Office of the US Trustee has advised that it will object to the releases set forth in section 13.4 of the Plan
 unless the Debtors (i) eliminate non-voting Creditors from the definition of Releasing Parties and (ii) change the “opt out”
 feature to an affirmative “opt in” feature such that voting Creditors must affirmatively choose to be a Releasing Party. The
 dialogue between the Debtors and the Office of the United States Trustee continues and, if no consensual resolution is
 reached, the Court will rule on the scope of Releasing Parties and efficacy of the releases at Confirmation.
 For much of the bankruptcy, the Debtors had no other source of financing to pay pre-confirmation ordinary and necessary
 operating expenses of the estates, including expenses incurred to resolve consumer tax, title and license claims on inventory
 sales that were pending and not completed as of the petition date. As a result, administrative-expense treatment for these
 advances was requested by Dykes. Given the below resolution, the Debtors believe that Mr. Dykes deserves
 administrative-expense treatment for his pre-confirmation advances.

 If the Plan goes effective under the reorganization alternative and the reorganized debtor emerges as an operating entity,
 Mr. Dykes will waive payment of his administrative-expense claim against from the Estates. In return for that waiver and
 his efforts in creating and partially funding the reorganized debtor for the benefit of the Estates and their creditors, the
 Estates will waive all claims against Mr. Dykes, and he will convert his administrative claim into increased equity ownership
 in the reorganized debtor or its affiliates.

 If the Plan goes effective under the liquidation alternative, Mr. Dykes will retain his administrative claim and receive no
 release from the Estates. Instead, the estates will retain all claims, causes, and defenses against Mr. Dykes, including rights
 to assert that such a claim could be paid by offset any NR or other obligations owed by Rick Dykes to the Estates.

 13Percentage Distribution to Holders of Allowed Class 11 Claims is dependent on a variety of risks and factors, including
 the success of the Reorganized Debtors’ post-confirmation business operations, value of the Creditors Trust Assets, the
 administration costs of the Creditor Trust, and whether the Restructuring or Liquidation Alternative proceeds.


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                   CLAIMANT            TREATMENT:                                               TREATMENT:
                                    RESTRUCTURING                                              LIQUIDATION
      CLASS                           ALTERNATIVE                                              ALTERNATIVE
               UNSECURED      payment in 2020, (ii) a $1 million                      final satisfaction and release of all
               CLAIMS OF FORD cash payment in 2021, and (iii) a                       Ford Credit’s Unsecured Claims
               CREDIT14       $5 million unsecured promissory                         against the Debtors, Ford Credit
                              note.                                                   will receive its Pro Rata Share
                                                                                      (calculated together with Allowed
                                           The $5 million unsecured                   Claims in Classes 11, 13, 14 and 15)
                                           promissory note will have the              of Distributions from the Creditors
                                           following terms:      (i) 10-year          Trust Assets. All Causes of Action
                                           amortization, (ii) 7-year balloon          against Ford Credit are reserved
                                           payment, (iii) 6.5% interest per           under this Plan.
                                           annum, (iv) payment-in-kind
                                           interest for 12 months, and (v)
                                           payable thereafter from Excess
                                           Cash Flow.



       13.     UNSECURED    GM Financial’s unsecured claim                            GM         Financial’s      Allowed
               CLAIMS OF GM will be paid as follows: As a                             Unsecured Claim will be treated in
               FINANCIAL    settlement and full and final                             Class 13 and paid as follows: In full
                            satisfaction and release of all                           and final satisfaction and release of
                            unsecured claims, GM Financial                            all GM Financial’s Unsecured
                            will receive (i) $750,000 from                            Claims against the Debtors, GM
                            Excess Cash Flow by the later of                          Financial will receive its Pro Rata
                            (x) 180 days after the Effective                          Share (calculated together with
                            Date and (y) payment of all                               Allowed Claims in Classes 11, 12,
                            Allowed            Administrative                         14 and 15) of Distributions from
                            Expenses and (ii) another                                 the Creditors Trust Assets. All
                            $750,000 from Excess Cash Flow                            Causes of Action against GM
                            no later than twelve (12) months                          Financial are reserved under the
                            after the first payment of                                Liquidation Alternative in this
                            $750,000 to GM Financial.                                 Plan.




 14 Classes 12 and 13 Claims are held by Ford Credit and GM Financial, respectively. Each is an affiliate of Original
 Equipment Manufacturers or “franchisors” that are parties to franchise or “dealer” agreements with one or more of the
 Debtors. The Class 12 and 13 Claims asserted by Ford Credit and GM Financial arise, in whole or in part from money
 loaned for the purchase of vehicles from the Original Equipment Manufacturers, and in Ford Credit’s case from allegations of
 out-of-trust sales or double floor-planned inventory as stated in pleadings in this Chapter 11 Case and the Ford Litigation. For
 those reasons, the Claims in Classes 12 and 13 are qualitatively dissimilar to Assumed Trade Claims in Class 10 or General
 Unsecured Claims in Class 11.



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                  CLAIMANT                       TREATMENT:                                TREATMENT:
                                                RESTRUCTURING                              LIQUIDATION
      CLASS                                      ALTERNATIVE                               ALTERNATIVE

       14.    UNSECURED     All prepetition claims of IBC Bank Allowed Claims in Class 14 will
              CLAIMS OF IBC against the Debtors, held directly receive their Pro Rata Share of the
              BANK          or indirectly, will be forgiven, and Creditors Trust Assets.
                            there will be no Distributions to
                            Claims in Class 14.


       15.    UNSECURED                  There will be no Distributions to Allowed Claims in Class 15 will
              CLAIMS OF BART             Claims in Class 15.               receive their Pro Rata Share of the
              REAGOR AND                                                   Creditors Trust Assets.
              RICK DYKES15


       16.    INTERCOMPANY There will be no Distributions to There will be no Distributions to
              CLAIMS       Claims in Class 16.               Claims in Class 16.



       17.    UNSECURED                  There will be no Distributions to There will be no Distributions to
              SUBORDINATED               Claims in Class 17.               Claims in Class 17.
              CLAIMS



       18.    INTERESTS IN               All Interests will be cancelled and      All Interests will be cancelled and
              THE DEBTORS                discharged on the Effective Date,        discharged on the Effective Date,
                                         and no holder of an Interest shall       and no holder of an Interest shall
                                         receive a Distribution on account        receive a Distribution on account
                                         of such Interest.                        of such Interest.




 15Class 15 includes Claims, if any, held by Insiders against the Debtors. The books and records of the Debtors show a
 note receivable in the amount of $9.5 million due from certain Insiders. Preliminarily, Messrs. Dykes and Reagor assert
 that the N/R balance in the Debtors’ books and records was not updated prior to the bankruptcy, because the Reagor-
 Dykes audit report for 2017 was in process when the initial bankruptcy cases were filed and was never completed. They
 assert that Messrs Dykes and Reagor raised over $18 million in new equity from savings and debt that they personally
 guaranteed from March 2017 to March 2018, and put at least $8.4 mm of cash into the Debtors during that time. As a
 result, Messrs Dykes and Reagor deny that they owe the bankruptcy estate any funds in connection with the above-
 described accounting entry. The Debtors will continue to investigate this situation and report to the Court. The estimated
 amount of the Class 15 Claims is unknown at this time. As part of a Restructuring under this Plan, the Holders of the
 Class 15 Claims have agreed to waive and forego all Unsecured Claims they hold against the Debtors and will receive no
 Distribution under this Plan.



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                            ARTICLE III
     HISTORICAL BACKGROUND AND PREPETITION BUSINESS OPERATIONS

 The Debtor entities are comprise of eight (8) limited partnerships and three (3) general partners. The
 limited partnership Debtors are: Reagor-Dykes Motors, LP, Reagor-Dykes Floydada, LP, Reagor-
 Dykes Auto Company, LP, Reagor-Dykes Plainview, LP, Reagor-Dykes Amarillo, LP, Reagor-Dykes
 Imports, LP, Reagor-Dykes Snyder, L.P., and Reagor Auto Mall, Ltd. (the “LP Debtors”). The
 Debtors with general partnership interest in the LP Debtors are: Reagor Auto Mall I LLC, Reagor-
 Dykes II LLC, and Reagor-Dykes III LLC (the “GP Debtors”). Bart Reagor and Rick Dykes own
 fifty percent (50%) respectively in each GP Debtor. The organizational structure of the Debtors is as
 follows:


           Reagor-Dykes                  Reagor Auto Mall I                   Reagor-Dykes
              II LLC                           LLC                              III LLC


                                                              Reagor
                                    Reagor-
     Reagor-Dykes Auto                                         Auto               Reagor-Dykes
                                     Dykes
       Company, LP                                             Mall,              Plainview, LP
                                    Floydada
                                                                LP
                                       LP

                       Reagor-                        Reagor-           Reagor-
                        Dykes                         Dykes             Dykes
                                        Reagor-
                       Amarillo,                      Motors,           Snyder,
                                         Dykes
                         LP                             LP                LP
                                        Imports,
                                          LP

         Section 3.1      GP Debtors.

 The GP Debtors are each Texas limited liability companies. Each GP Debtor owns one percent (1%)
 interest in their respective LP Debtors.

         Section 3.2      LP Debtors.

 The LP Debtors are each Texas limited partnerships. The LP Debtors limited partners are Rick Dykes
 and Bart Reagor. Prepetition, the LP Debtors operated eight (8) Dealerships with seventeen (l7)
 Locations—sixteen in West Texas and one (1) in Dallas—as a consolidated group known as the
 Reagor-Dykes Auto Group. The following are the Dealerships with their corresponding Locations:

                       Debtor                                           Location

  Reagor-Dykes Auto Company, LP                      Reagor-Dykes Plainview Ford Lincoln

  Reagor-Dykes Amarillo, LP                          Reagor-Dykes Mitsubishi Amarillo



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                                                      Reagor-Dykes Auto Mall Amarillo

                                                      Reagor-Dykes Luxury

  Reagor-Dykes Floydada, LP                           Reagor-Dykes Chevrolet

  Reagor-Dykes Imports, LP                            Reagor-Dykes Mitsubishi Lubbock

  Reagor-Dykes Motors, LP                             Spike Dykes Ford Lincoln

                                                      Reagor-Dykes Auto Mall Midland West

                                                      Reagor-Dykes Auto Mall Midland East

  Reagor-Dykes Plainview, LP                          Reagor-Dykes Toyota

  Reagor-Dykes Snyder, LP                             Reagor-Dykes Chevy Buick GMC

  Reagor Auto Mall Ltd.                               Reagor Auto Mall Dallas

                                                      Reagor Auto Mall Downtown

                                                      Reagor Auto Mall

                                                      Reagor Auto Mall Imports

                                                      Reagor Auto Mall West

                                                      Reagor Leveland


       FACTORS PRECIPITATING THE FILING OF THESE CHAPTER 11 CASES

 A.      Original Debtors

 The RAM, Snyder and the Original Debtors’ business centers around selling used and new vehicles.
 Historically, RAM, Snyder and the Original Debtors owned or operated Dealerships that sold new
 and/or used vehicles from various original equipment manufacturers including but not limited to
 Ford, General Motors, Gulf States Toyota, Lincoln, and Mitsubishi. Although downsizing during the
 Chapter 11 Cases was unavoidable, prepetition the Debtors’ business employed hundreds of people
 in and around the Lubbock area.

 The Original Debtors required floor plan financing to maintain inventory to sell. Essentially, floor
 plan financing provided the funds where by the Original Debtors acquired vehicles for resale to
 consumers. The Original Debtors’ primary floor plan financing came from Ford Motor Credit
 Company (“Ford Credit”). Ford Credit extended six loans to the Original Debtors with respective
 line limits on new and used vehicles. As a condition of the floor plan financing, Ford Credit was
 entitled to conduct periodic audits of the Original Debtors’ dealerships to confirm that the dealerships
 were in compliance with the terms of the financing agreements.

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 Ford Credit conducted an audit in June of 2018. Consistent with prior audits, the Original Debtors
 received a clean bill of health and Ford Credit even commended the Original Debtors on their
 performance. Despite that positive audit in June, Ford Credit conducted another audit of the Original
 Debtors’ operations on July 26, 2018. Ford Credit claims that the July audit reflected that the Original
 Debtors failed to meet certain standards under their floor financing requirements. Based on these
 allegations, Ford Credit suddenly and immediately stopped funding the Original Debtors’ floor plan
 lines on July 30, 2018.

 The consequences of this abrupt cessation in funding from Ford Credit were catastrophic. The
 Original Debtors did not anticipate the sudden withdrawal of a substantial portion of its floor plan
 lending. Due to the lack of financing from Ford Credit and the resulting freezing of the Original
 Debtors’ bank accounts, the Original Debtors did not have sufficient cashflow to sustain their business
 operations. In an effort to halt the damaging domino effect on consumers and employees and stabilize
 their business, the Original Debtors filed for protection under chapter 11 of the Bankruptcy Code.

 B.      New Debtors

 The New Debtors and the Original Debtors managed the dealerships and locations in a semi-
 integrated manner. Once the Original Debtors were operating as debtors-in-possession under the
 Bankruptcy Code, it became increasingly challenging for the New Debtors to operate their business
 unimpacted by the filing. Due to the public nature of the Original Debtors’ bankruptcy cases, the New
 Debtors’ floor plan lenders also became skeptical of the New Debtors’ ability to continue operations.
 Negotiations ensued with First Bank & Trust (“FBT”), the floor plan lender for RAM, and
 AmeriCredit Financial Services, Inc. d/b/a GM Financial (“GM Financial”), the floor plan lender
 for Snyder. Ultimately, FB&T applied for a writ of sequestration whereby FB&T could foreclose on
 its collateral – that collateral being the vehicles FB&T had “floored” pursuant to a floor plan financing
 agreement it had with RAM. The United States District Court for the Northern District of Texas,
 Lubbock Division, entered an agreed order allowing FB&T to sequester the vehicles after a fourteen-
 day stay lapsed. The stay was set to expire on October 29, 2018. Because RAM could not operate
 without the collateral vehicles as inventory, and because discussions with GM Financial remained
 contentious, the New Debtors filed for relief under Chapter 11 of the Bankruptcy Code.

                              ARTICLE IV
          MEANS FOR IMPLEMENTATION OF THE PLAN: RESTRUCTURING
                             ALTERNATIVE

 On the Effective Date, the Reorganized Debtors will receive up to $13 million in cash from the Plan
 Sponsor to be used as working capital and to pay Allowed Claims pursuant to the Plan. In exchange
 for this Cash, the Reorganized Debtors will cancel all Interests in the Debtors, and issue 90% of the
 New Equity in the Reorganized Debtors to the Plan Sponsor. The Reorganized Debtors will issue the
 other 10% of the New Equity to the Creditors’ Trust. As set forth in the Plan, the Plan Sponsor is
 the entity(ies) owned by Auto Investment Group, SLJ Company or other investor identified in the
 Plan Supplement or at the Confirmation Hearing if SLJ Company declines to participate/invest into




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 the Reorganized Debtors, Rick Dykes, and Ron Blaylock.16 The initial equity percentages of
 ownership in the Plan Sponsor are as follows: (a) The Auto Investment Group = 65%; (b) SLJ
 Company = 20%; and (c) Ron Blaylock = 5%. Henry Resources is the primary investor in The Auto
 Investment Group.17

 THE DEBTORS, WITH THE SUPPORT AND INPUT OF THE PLAN SPONSOR, HAVE
 PREPARED THE POST-CONFIRMATION BUSINESS PLAN INCLUSIVE OF THREE (3)
 YEAR PROJECTIONS OF THE INCOME AND OPERATIONAL EXPENSES OF THE
 REORGANIZED DEBTORS, INCLUSIVE OF ALL PAYMENTS DUE TO ALLOWED
 ADMINISTRATIVE CLAIMS, PRIORITY TAX CLAIMS, AND PRIORITY NON-TAX
 CLAIMS PURSUANT TO THE PLAN. THE DEBTORS AND THE PLAN SPONSOR
 BELIEVE THAT THESE PROJECTIONS ARE CONSERVATIVE, REASONABLE AND
 ACHIEVABLE. THE PROJECTIONS AND THE PLAN DO NOT REQUIRE THE
 CONTINUED PARTICIPATION OF FORD CREDIT, FB&T OR GM FINANCIAL AS A
 FLOOR PLAN LENDER. IF FORD CREDIT, FB&T AND/OR GM FINANCIAL DO NOT
 WISH TO PROVIDE FLOOR PLAN FINANCING TO THE REORGANIZED DEBTORS,
 THEN THE REORGANIZED DEBTORS WILL PROCURE AN EXIT LENDER. THE
 DEBTORS ARE CONFIDENT AND OPTIMISTIC THAT THE BUSINESS CONTACTS AND
 RELATIONSHIPS THE PLAN SPONSOR MAINTAINS IN THE INDUSTRY WILL YIELD A
 LENDER TO PROVIDE FLOOR PLAN FINANCING SUFFICIENT FOR THE
 REORGANIZED DEBTORS TO CONTINUE OPERATIONS. THE PROJECTIONS ARE
 ATTACHED AS EXHIBIT B.

                           ARTICLE V
  MEANS FOR IMPLEMENTATION OF THE PLAN: LIQUIDATION ALTERNATIVE

 Under the Liquidation Alternative, the Plan will effect an orderly wind down of the Debtors’ business
 operations, a controlled liquidation of all Collateral, appointment of the Creditors Trustee, and the
 transfer of all Causes of Action to the Creditors Trust. Ford Credit asserts a "replacement" lien in
 certain assets, including non-Chapter 5 claims and causes of action. It is unclear whether Ford Credit
 in fact asserts a lien on tort claims held by the Debtors. But there is no bona fide argument that such
 “replacement” lien covers any commercial tort claim or causes of action. As a result, the Debtors
 dispute any suggestion that this replacement lien (a) covers more collateral than Ford Credit’s lien
 covered pre-bankruptcy, (b) is not limited to diminution in value, and (c) has any value given Ford
 Credit’s believed involvement in the pre-bankruptcy business. All Assets and all Causes of Action,
 inclusive of all rights to challenge the extent, priority and validity of alleged liens thereon, and all
 Collateral not surrendered under the terms of the Plan will be transferred to the Creditors Trust. All
 Holders of Allowed Unsecured Claims will receive a beneficial interest in the Creditors Trust equal to
 the Pro Rata amount of their Allowed Unsecured Claim, and the Creditors Trustee will make


 16Rick Dykes is not an investor in Auto Investment Group or SLJ Company. Henry Resources is the primary investor in
 the Auto Investment Group. Both Auto Investment Group and SLJ Company will continue their respective diligence up
 to the Confirmation Hearing.
 17The Plan Sponsor Superpriority Claim, if any, may be converted to its Pro Rata Share or other amount agreed by the
 Reorganized Debtor and Plan Sponsor of the 90% of New Equity in the Reorganized Debtors allocated to the Plan
 Sponsor.


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 distributions to all Allowed Unsecured Claims pursuant to the terms and conditions of the Plan and a
 Creditors Trust Agreement.

                                        ARTICLE VI
                       ASSETS OF THE DEBTORS ON THE PETITION DATE

 The following is a summary description of each of the Debtors’ known principal assets as of the
 Petition Date. The information has been compiled from the Debtors’ audited and unaudited records
 as reflected in the Debtors’ Schedules, Statements of Financial Affairs and Monthly Operating
 Reports. As a result of developments during the Chapter 11 Case, the asset base of the Debtors has
 changed substantially. The Debtors have attached as Exhibit H, which is a current balance sheet
 reflecting the Debtors’ current assets on a consolidated basis as of March 31, 2019.

            Section 6.1       Debtors’ Assets.

                 Reagor-Dykes Motors, LP

                     a)       Personal Property: As of the Petition Date, Reagor-Dykes
                              Motors, LP had personal property in the amount of
                              $32,076,136.31 based on: (i) accounts receivable18 amounting
                              to $4,078,162.00; (ii) cash and cash equivalents amounting to
                              $3,078,898.64; (iii) deposits and prepayments amounting to
                              $1,300; (iv) inventory amounting to $21,896,597.00; (v) office
                              furniture, fixtures, and equipment amounting to $98,330.25;
                              (vi) machinery, equipment, and vehicles amounting to
                              $53,294.67.

                     b)       Real Property: As of the Petition Date, Reagor-Dykes
                              Motors, LP had real property in the amount of $609,871.17.

                     c)       Intellectual Property: As of the Petition Date, Reagor-Dykes
                              Motors, LP had intellectual property amounting to $23,923.75.

                     d)       Other Property: As of the Petition Date, Reagor-Dykes
                              Motors, LP had other property (including notes receivable
                              from Bart Reagor and Rick Dykes) amounting to
                              $2,845,630.00.

                 Reagor-Dykes Auto Company, LP

                     a)       Personal Property: As of the Petition Date, Reagor-Dykes
                              Auto Company, LP had personal property in the amount of
                              $19,296,940.86 based on: (i) accounts receivable amounting to
                              $2,178,854.00; (ii) cash and cash equivalents amounting to
                              $1,686,931.89; (iii) deposits and prepayments amounting to
                              $740.00; (iv) inventory amounting to $12,686,580.00; (v) office
 18   As explained in the Global Notes filed with the Bankruptcy Schedules, the Bankruptcy Schedules were unaudited.


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                          furniture, fixtures, and equipment amounting to $428,214.92;
                          (vi) machinery, equipment, and vehicles amounting to
                          $167,949.05.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes Auto
                          Company, LP had real property in the amount of $930,352.34.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Auto Company, LP had intellectual property amounting to
                          $16,723.00.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes Auto
                          Company, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to
                          $1,948,948.00.

              Reagor-Dykes Amarillo, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Amarillo, LP had personal property in the amount of
                          $8,270,334.33 based on: (i) accounts receivable amounting to
                          $989,443.00; (ii) cash and cash equivalents amounting to
                          $670,650.00; (iii) deposits and prepayments amounting to
                          $850; (iv) inventory amounting to $5,983,952.00; (v) office
                          furniture, fixtures, and equipment amounting to $81,310.83;
                          (vi) machinery, equipment, and vehicles amounting to
                          $94,128.50.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Amarillo, LP had real property in the amount of $332,190.25.

                     c)   Intellectual Property: None.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Amarillo, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to $450,000.

              Reagor-Dykes Floydada, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had personal property in the amount of
                          $12,379,837.00 based on: (i) accounts receivable amounting to
                          $1,026,592.00; (ii) cash and cash equivalents amounting to
                          $326,208.00; (iii) deposits and prepayments amounting to
                          $1,683.00; (iv) inventory amounting to $9,745,042.00; (v) office
                          furniture, fixtures, and equipment amounting to $31,287.00;
                          (vi) machinery, equipment, and vehicles amounting to
                          $177,150.00.

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                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had real property in the amount of $285,352.00.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had intellectual property amounting to
                          $66,223.00.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Floydada, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to $297,500.

              Reagor-Dykes Imports, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had personal property in the amount of
                          $12,194,433.91 based on: (i) accounts receivable amounting to
                          $1,694,378.00; (ii) cash and cash equivalents amounting to
                          $1,435,812.16; (iii) inventory amounting to $7,659,216.00; (v)
                          machinery, equipment, and vehicles amounting to $107,643.75.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had real property in the amount of $232,190.08.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had intellectual property amounting to
                          $28,250.00.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Imports, LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to
                          $1,269,134.00.

              Reagor-Dykes Plainview, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Plainview, LP had personal property in the amount of
                          $14,168,106.35 based on: (i) accounts receivable amounting to
                          $1,414,088.00; (ii) cash and cash equivalents amounting to
                          $2,196,118.68; (iii) inventory amounting to $10,296,320.00; (v)
                          office furniture, fixtures, and equipment amounting to
                          $38,623.67; (vi) machinery, equipment, and vehicles amounting
                          to $63,622.00.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes
                          Plainview, LP had real property in the amount of $174,897.08.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Plainview, LP did not have any intellectual property.

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                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Plainview LP had other property (including notes receivable
                          from Bart Reagor and Rick Dykes) amounting to $159,334.00.

              Reagor-Dykes Snyder, LP

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes
                          Snyder, LP had personal property in the amount of
                          $15,674,302.00 based on: (i) accounts receivable amounting to
                          $2,065,745.00; (ii) cash and cash equivalents amounting to
                          $8,918.00; (iii) deposits and prepayments amounting to
                          $465.00; (iv) inventory amounting to $13,319,142.00; (v) office
                          furniture, fixtures, and equipment amounting to $77,048.00;
                          (vi) machinery, equipment, and vehicles amounting to
                          $202,984.00.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes Snyder,
                          LP did not have any real property.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          Snyder, LP did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes
                          Snyder, LP did not have any other property.

              Reagor Auto Mall, Ltd.

                     a)   Personal Property: As of the Petition Date, Reagor Auto
                          Mall, Ltd. had personal property in the amount of
                          $12,582,918.21 based on: (i) accounts receivables amounting to
                          $1,915,270.55; (ii) cash and cash equivalents amounting to
                          $1,047,402.91; (iii) deposits and prepayments amounting to
                          $5,786.19; and (iv) inventory amounting to $7,119,136.56.

                     b)   Real Property: As of the Petition Date, Reagor Auto Mall,
                          Ltd. did not have any real property.

                     c)   Intellectual Property: As of the Petition Date, Reagor Auto
                          Mall, Ltd. did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor Auto Mall,
                          Ltd. had other property (including notes receivable from Bart
                          Reagor and Rick Dykes) amounting to $2,495,322.00.

              Reagor-Dykes II LLC

             As noted elsewhere in this Disclosure Statement, Reagor-Dykes II LLC is the general
         partner of Debtor Reagor-Dykes Auto Company, LP. Reagor-Dykes II LLC owns a 1%

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         interest in Debtor Reagor-Dykes Auto Company, LP’s outstanding equity partnership units.
         Other than the above, the Schedules reflect the following as to Reagor-Dykes II LLC:

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes II
                          LLC did not have any personal property.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes II LLC
                          did not have any real property.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          II LLC did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes II
                          LLC did not have any other property.

              Reagor-Dykes III LLC

             As noted elsewhere in this Disclosure Statement, Reagor-Dykes III LLC is the general
         partner of Debtor Reagor-Dykes Plainview, LP. Reagor-Dykes III LLC owns a 1% interest
         in Debtor Reagor-Dykes Plainview, LP’s outstanding equity partnership units. Other than the
         above, the Schedules reflect the following as to Reagor-Dykes III LLC:

                     a)   Personal Property: As of the Petition Date, Reagor-Dykes III
                          LLC did not have any personal property.

                     b)   Real Property: As of the Petition Date, Reagor-Dykes III
                          LLC did not have any real property.

                     c)   Intellectual Property: As of the Petition Date, Reagor-Dykes
                          III LLC did not have any intellectual property.

                     d)   Other Property: As of the Petition Date, Reagor-Dykes III
                          LLC did not have any other property.

              Reagor Auto Mall I LLC

             As noted elsewhere in this Disclosure Statement, Reagor Auto Mall I LLC is the general
         partner of Debtors Reagor-Dykes Motors, LP, Reagor-Dykes Amarillo, LP, Reagor-Dykes
         Floydada, LP, Reagor-Dykes Imports, LP, Reagor Auto Mall, Ltd. and Reagor-Dykes Snyder,
         LP. Reagor Dykes II LLC owns a 1% interest in each of these listed debtor’s outstanding
         equity partnership units. Other than the above, the Schedules reflect the following as to
         Reagor Auto Mall I LLC:

                     a)   Personal Property: As of the Petition Date, Reagor Auto Mall
                          I LLC did not have any personal property.

                     b)   Real Property: As of the Petition Date, Reagor Auto Mall I
                          LLC did not have any real property.


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                     c)       Intellectual Property: As of the Petition Date, Reagor Auto
                              Mall I LLC did not have any intellectual property.

                     d)       Other Property: As of the Petition Date, Reagor Auto Mall I
                              LLC did not have any other property.

         Section 6.2          Claims and Causes of Action of Debtors.

                     a)       The Debtors held the following claims and causes of action that were pending
                              as of the Petition Date:

                          Style of Case                                            Status
  Reagor Auto Mall, Ltd. v. Heather Morris                  Pending
  Reagor Auto Mall v. Monica Rosendo                        Pending
  Reagor Dykes Imports, LP, Reagor-Dykes Auto Ongoing adversary in bankruptcy case no. 18-
  Company, LP, Reagor-Dykes Plainview, LP v. Vista 50214
  Bank

                     b)       As detailed in the Plan and except as otherwise compromised
                              and settled pursuant to the Plan, pursuant to § 1123(b) of the
                              Bankruptcy Code, all Causes of Action are preserved under the
                              Plan and the Reorganized Debtors or the Creditors Trustee, as
                              the case may be, shall, on behalf of the Debtors, retain the
                              exclusive authority and all rights to enforce, commence, and
                              pursue, as appropriate, any and all Causes of Action, including,
                              without limitation, (i) any potential Cause of Action arising
                              from or related to any transfer or other actions or omissions
                              referenced in each of the Debtors’ Schedules or Statement of
                              Financial Affairs, as same may be amended (ii) any potential
                              Causes of Action against any past or present insider of the
                              Debtors, (iii) any causes of action related to the extent, validity,
                              and priority of any liens, (iv) any actions for breach of contract,
                              (v) any actions arising in tort, (vi) any actions against retail
                              lenders who have failed to fund vehicle purchases to the
                              Debtors – sometimes called “contracts in transit,” and (vi) any
                              action listed on attached Exhibit E. Without limiting the
                              generality of the foregoing, the Debtors retain and preserve any
                              and all Causes of Action, except as otherwise compromised
                              and settled pursuant to the Plan, against some or all of the
                              Debtors’ prepetition lenders, including but not limited to Ford
                              Credit, GM Financial, First Capital Bank, FB&T, IBC Bank,
                              and Vista Bank (collectively, the “Lenders”) and against the
                              Debtors’ prepetition independent auditor Lane Gorman
                              Trubitt, LLC (“Auditor”):



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                     (i)    Claims Against Lenders: The Estates’ claims against
                            the Lenders include, but are not limited to: (1) claims
                            for wrongful setoff or seizure of estate funds and
                            damages for the expense of preserving bank collateral
                            during the chapter 11 case, namely (i) section 506
                            surcharge claims and other claims arising from status
                            as prepetition floor plan lender against, among others,
                            GM Financial, Ford Credit, FirstCapital, and FB&T,
                            which provided floor-plan financing to several
                            Debtors that the Debtors secured by inventory
                            collateral without compensation, (ii) a security claim
                            against IBC Bank, which provided real-estate financing
                            to Reagor-Dykes through a Reagor-Dykes affiliate that
                            leased real estate to the Reagor-Dykes dealerships (and
                            the Estates preserved this real estate collateral during
                            the Bankruptcy Cases), (iii) section 553 avoidance
                            claims for millions of dollars of the Estates’ cash
                            deposits that were “trapped” at one or more of the
                            Lenders who have not provided an accounting of the
                            cash deposits, (iv) section 553 avoidance claims against
                            the banks that froze money paid into the Debtors’
                            accounts by retail lenders who financed cars sold by the
                            Debtors and then setoff against debts owed by the
                            Debtors to the Lenders, and (v) section 548 fraudulent
                            transfer claims against the Lenders that held certificates
                            of deposit as collateral even though not all of the
                            Debtors owed money to those Lenders; and (2)
                            damages claims, including but not limited to those
                            against (i) First Capital Bank, FB&T, and Vista Bank,
                            who knew or should have known that the Debtors’
                            former chief financial officer was using accounts at
                            FB&T in an illegal check-kiting scheme but still
                            charged the Debtors exorbitant bank charges related to
                            the scheme and helped hide the practices of the former
                            CFO that drove the company into bankruptcy, and (ii)
                            First Capital Bank, who failed to fulfill a $2.1 million
                            extension of floor-plan financing to RAM during the
                            bankruptcy cases of the Original Debtors despite
                            receiving more than $7.5 million in additional security
                            from the Reagor-Dykes owners.

                     (ii)   Claims Against Ford Credit: The Estates’ additional
                            claims against Ford Credit include, without limitation,
                            (a) lender-liability claims regarding whether Ford
                            Credit (which provided floor-plan financing to Reagor-
                            Dykes and rated its two previous audits of Reagor-
                            Dykes as exemplary) knew, or should have known, on

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                                       or before July 30, 2018, about the selling-out-of-trust
                                       sales or double-pledged inventory for which the
                                       Debtors’ former CFO has now taken responsibility,
                                       and whether Ford Credit had a special duty to notify
                                       the Debtor’s owners of its CFO’s misconduct and
                                       given the owners a reasonable opportunity to correct
                                       the problems before withdrawing its financing and
                                       filing its lawsuit on July 31, 2018; (b) tort claims
                                       regarding whether Ford Credit tortiously interfered
                                       with RAM’s floor-plan loan agreement with First
                                       Capital Bank when Ford Credit’s lawyers notified First
                                       Capital Bank that Ford Credit was asserting a priming
                                       lien on certain RAM inventory that took priority over
                                       First Capital Bank’s lien securing floor-plan financing
                                       which interference deterred First Capital Bank from
                                       fulfilling $2.1 million in floor-plan financing to RAM,
                                       for which RAM had pledged $7.5 million in collateral
                                       to FirstCapital; (c) the section 506 surcharge claims
                                       described above; and (4) any section 547 or 548
                                       avoidance actions against Ford Credit, because Ford
                                       Credit may have received payments from non-
                                       collateral and received payments while an unsecured
                                       creditor and outside of the ordinary course of business.
                                       The lawsuit filed against Ford Credit by IBC, which
                                       outlines some of the causes of action that the Debtors
                                       expect to bring against Ford Credit and maybe others
                                       if the restructuring option is not implemented, is
                                       attached as Exhibit F.19

                              (iii)    Claims Against Auditor: The Estates’ claims against
                                       the auditor include, without limitation, all Causes of
                                       Action arising from or related to Auditor’s written
                                       reports and opinions regarding the financial position of
                                       the Debtors in 2015 and 2016, whether sounding in
                                       contract or tort, and specifically including negligence,
                                       gross negligence and/or negligent misrepresentation in
                                       performing its audit work, breach of warranty; claims
                                       under the Texas Deceptive Trade Practices Act;
                                       and/or breach of the duty to exercise reasonable care
                                       in rendering professional services as an independent
                                       auditor via the failure to detect accounting irregularities
                                       and/or in excess of $5.9 million in fraudulent

 19The Debtors are not parties to “guaranty litigation” between Bart Reagor and Ford Motor Credit and have not been
 made aware of such litigation by Ford Credit. But, to the extent any party believes the status of such litigation is relevant,
 the Debtors advise that it understands Ford Credit received summary judgment on guaranty liability against Bart Reagor
 and a jury trial on damages, offset, etc. is set for October 2019.


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                                  accounting entries, the failure to comply with generally
                                  accepted auditing standards, failure to obtain
                                  reasonable assurance regarding whether the Debtors’
                                  2015 balance sheets and 2016 financial statements were
                                  free from material misstatements, and the failure to
                                  detect and disclose a $25 million material debt
                                  repayment prior to the issuance of the 2016 audit
                                  report.

                     c)   As with most large and complex Chapter 11 cases, the Debtors’
                          Causes of Action (including Chapter 5 Causes of Action) have
                          not yet been analyzed. The failure to list or describe any Cause
                          of Action herein is not intended to limit the rights of the
                          Reorganized Debtors to pursue any known or unknown Cause
                          of Action. Unless Causes of Action against a Person or Entity
                          are expressly waived, relinquished, released, compromised or
                          settled herein or any Final Order, the Debtors or the Estates
                          (before the Effective Date) and the Debtors and the
                          Reorganized Debtors (as applicable), expressly reserve all
                          Causes of Action (including the unknown Causes of Action)
                          for later adjudication and therefore, no preclusion doctrine or
                          other rule of law, including, without limitation, the doctrines
                          of res judicata, collateral estoppel, issue preclusion, claim
                          preclusion, estoppel (judicial, equitable or otherwise) or laches,
                          shall apply to such Causes of Action upon, after, or as a result
                          of the confirmation or Effective Date of the Plan, or the
                          Confirmation Order. In addition, the Debtors and the Estates,
                          and the Reorganized Debtors, expressly reserve the right to
                          pursue or adopt any Claims not so waived, relinquished,
                          released, compromised, or settled that are alleged in any lawsuit
                          in which one of the Debtors or Estates is a defendant or an
                          interested party, against any Person or Entity, including,
                          without limitation, the plaintiffs and co-defendants in such
                          lawsuits. No Entity may rely on the absence of a specific
                          reference in the Plan, the Plan Supplement Documents, or the
                          Disclosure Statement to any Cause of Action against them as
                          any indication that the Trustee, on behalf of the Debtors or the
                          Reorganized Debtors will not pursue any and all available
                          Causes of Action against them. The Debtors and the
                          Reorganized Debtors expressly reserve all rights to prosecute
                          any and all Causes of Action other than Causes of Action
                          settled, resolved or released pursuant to this Plan.

                     d)   For the avoidance of doubt, the Reorganized Debtors reserve
                          and shall retain all Causes of Action notwithstanding the
                          rejection or repudiation of any Executory Contract or
                          Unexpired Lease and will continue to review payments made

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                          by and transactions involving the Debtors prior to the Petition
                          Date to determine whether preference and other actions to
                          avoid such payments and transactions should be brought. The
                          Reorganized Debtors shall have the exclusive right, authority,
                          and discretion to determine and to initiate, File, prosecute,
                          enforce, abandon, settle, compromise, release, withdraw, or
                          litigate to judgment any such Causes of Action and to decline
                          to do any of the foregoing without the consent or approval of
                          any third party or further notice to or action, order, or approval
                          of the Bankruptcy Court. The Reorganized Debtors shall have
                          the right to identify any additional Causes of Action prior to
                          the Effective Date of the Plan.

 IN REVIEWING THIS DISCLOSURE STATEMENT AND THE PLAN, AND IN
 DETERMINING WHETHER TO VOTE IN FAVOR OF OR AGAINST THE PLAN,
 HOLDERS OF CLAIMS AND INTERESTS (INCLUDING PARTIES THAT RECEIVED
 PAYMENTS FROM THE DEBTORS WITHIN NINETY (90) DAYS PRIOR TO THE
 PETITION DATE) SHOULD CONSIDER THAT A CAUSE OF ACTION MAY EXIST
 AGAINST THEM, THAT THE PLAN PRESERVES ALL CAUSES OF ACTION, AND
 THAT THE PLAN AUTHORIZES THE REORGANIZED DEBTORS TO PROSECUTE
 THE SAME.

 All rights, if any, of a defendant to assert a claim arising from relief granted in any Cause of Action,
 together with the Reorganized Debtors’ right to oppose such claim are fully preserved.

                                         ARTICLE VII
                                 LIABILITIES OF THE DEBTORS

        Section 7.1      Administrative Claims: All Debtors. Administrative Claims are any claims
 defined in §503(b) of the Code as “administrative expenses” and granted priority under § 507(a)(1) of
 the Code, including:

                     a)   Claim for any cost or expense of administration in connection
                          with the Case, including, without limitation, any actual,
                          necessary cost or expense of preserving the Debtor’s estate and
                          of operating the business of the Debtors incurred on or before
                          the Effective Date;

                     b)   the full amount of all Claims for compensation for legal,
                          accounting and other services or reimbursement of costs under
                          §§330, 331 or 503 of the Bankruptcy Code;

                     c)   all fees and charges assessed against the Debtors’ estates under
                          Chapter 123 of Title 28 of the United States Code; and

                     d)   a Claim for post-petition taxes and related items, including any
                          interest and penalties on such post-petition taxes.


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 Allowed Administrative Claims will be paid as follows: under the Restructuring as soon as reasonably
 practicable following the later to occur of: (a) the Effective Date and (b) the date on which such
 Administrative Claim becomes an Allowed Administrative Claim The following are the asserted
 outstanding Administrative Claims owed by the Debtors:

                     a)   Professionals. Under the Plan, all professionals employed
                          pursuant to §§ 327 and 330 shall be required to file with the
                          Bankruptcy Court a final fee application within sixty (60) days
                          after the Effective Date. As of June 30, 2019, accrued but
                          unpaid professional fees and expenses against the Estates are
                          in the aggregate approximate amount of $5 million. Nothing
                          in the Plan or this Disclosure Statement is intended to restrict
                          the ability of any party in interest or the U.S. Trustee to object
                          to any final fee applications.

                     b)   SAWCO Industries, LLC Administrative Claim. SAWCO
                          Industries, LLC filed a request for administrative claim in the
                          amount of $31,500.00 for post-petition goods, accessories, and
                          equipment described in its application for compensation.

                     c)   Earl Owen Co. Administrative Claim. Earl Owen Co. filed
                          an application for allowance and payment of administrative
                          expense claim in the amount of $92,312.97 for automotive
                          goods and accessories delivered to the Debtors 20 days prior
                          to the petition date.

                     d)   Covenant Health System. Covenant Health System filed its
                          application for administrative expenses amounting to
                          $147,407.86, but after negotiation with the Debtors have
                          agreed to the reduced amount of $82,247.77.

                     e)   Reagan National Advertising of Austin. Reagan National
                          Advertising of Austin filed its application for administrative
                          expenses amounting to $9,716.43.

                     f)   CDK Global, LLC. CDK Global, LLC has filed multiple
                          proofs of claim against the Debtors in the aggregate amount
                          of $129,029.61 asserting, in addition to unsecured claims,
                          entitlement to an alleged administrative claim in an unspecified
                          amount. Representations in CDK Global’s objection to the
                          Disclosure Statement indicate that any request for
                          administrative claim will be properly and timely filed by CDK
                          Global. The Debtors have not verified or agreed to CDK
                          Global’s alleged entitlement to an administrative claim. Both
                          the Debtors and CDK Global reserve all rights incident to this
                          alleged administrative claim.



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                     g)   Eighty Second Street Investments, LLC and Lubbock
                          Windmill Investments, LLC. Eighty Second Street
                          Investments, LLC and Lubbock Windmill Investments, LLC
                          asserts that it holds an administrative claim against the Debtors
                          in the amount of $351,553.14 for postpetition unpaid rent.
                          Eighty Second Street Investments, LLC and Lubbock
                          Windmill Investments, LLC have filed a proof of claim, claim
                          number 142 setting forth this amount but have not yet filed a
                          request for payment of administrative-expense claim as
                          required by section 503(a) of the Code although Eighty Second
                          Street Investments, LLC and Lubbock Windmill Investments,
                          LLC do intend to do so timely. The Debtors have not verified
                          or agreed to the asserted amount of Eighty Second Street
                          Investments, LLC and Lubbock Windmill Investments, LLC’s
                          alleged administrative-expense claim. Both the Debtors and
                          Eighty Second Street Investments, LLC and Lubbock
                          Windmill Investments, LLC reserve all rights incident to this
                          alleged administrative-expense claim.

                     h)   Ford Credit. Ford Credit has indicated that it believes that it
                          is entitled to assert an administrative claim in the amount of
                          approximately $3.5 million under the various cash collateral
                          orders entered during the Case. The Debtors have not verified
                          or agreed to the asserted amount of Ford Credit’s alleged
                          administrative-expense claim. As a result, the Debtors expect
                          to object to any such asserted claim by Ford Credit, especially
                          given the circumstances of the cases.

                     i)   Other Asserted Administrative Claims. A review of the
                          docket on June 28, 2019, reveals that no other requests for
                          administrative expense payments have been filed in this case.

         Section 7.2      Scheduled Secured and Priority Claims, Pending Litigation.

         The scheduled and filed Claim amounts listed below do not include the accrual of interest
 after the filing of the Cases, to the extent such post-petition interest may be applicable.

                     a)   Secured Claims: Scheduled: The Schedules reflect the following Secured
                          Claims, listed below by the respective Debtor:

               Debtor                       Secured Lender                          Amount

  Reagor-Dykes Auto                  AIM Bank                           $357,915.06
  Company, LP

                                     First Capital Bank                 $2,442,093.00



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                               Ford Credit                      $16,223,320.17

                               Vista Bank                       $792,500.00

                               Vista Bank                       $367,500.00

  Reagor-Dykes Motors, LP      Ford Credit                      $31,983,007.90



                               Ford Credit                      $3,916,674.00

  Reagor-Dykes Plainview, LP   AIM Bank                         $457,166.57

                               First Capital Bank               $2,442,093.00

                               Ford Credit                      $15,964,252.12

                               Vista Bank                       $848,443.89

                               Vista Bank                       $596,880.00

  Reagor-Dykes Amarillo, LP    Ford Credit                      $9,287,555.82

                               First Capital Bank               $2,442,093.00

  Reagor-Dykes Floydada, LP    Ford Credit                      $18,821,873.00

                               First Capital Bank               $2,580,498.00

  Reagor-Dykes Imports, LP     First Capital Bank               $2,442,093.00

                               Ford Credit                      $12,894,777.94

                               Vista Bank                       $359,056.11

                               Vista Bank                       $992,847.52

  Reagor Auto Mall, Ltd.       First Bank & Trust               $3,257,100.00

                               First Capital Bank               $9,575,238.80

                               First Capital Bank               $308,850.00

                               Liberty Capital Bank             $431,150.00

  Reagor-Dykes Snyder, LP      GM Financial Commercial          $14,662,298.00
                               Lending Service


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                           Secured Claims: Claims Register: The claims register reflects the following
                           secured claims filed against each Debtor: Reagor-Dykes Motors, LP in the
                           amount of $44,742,592.60, Reagor-Dykes Auto Company, LP in the amount
                           of $30,039,843.26, Reagor-Dykes Plainview, LP in the amount of
                           $24,447,326.74, Reagor-Dykes Floydada, LP in the amount of $22,708,430.64,
                           Reagor-Dykes Imports, LP in the amount of $22,652,073.83, Reagor-Dykes
                           Amarillo, LP in the amount of $18,049,369.10, Reagor-Dykes Snyder, L.P. in
                           the amount of $28,555,095.50, Reagor Auto Mall, Ltd. in the amount of
                           $19,966,237.30.

                     b)    Priority Claims: The Schedules reflect the following Priority Claims, listed
                           below by the respective Debtor:


                          Debtor                                          Amount


  Reagor-Dykes Auto Company, LP                       $171,185.00


  Reagor-Dykes Motors, LP                             $212,107.00


  Reagor-Dykes Plainview, LP                          $91,027.00


  Reagor-Dykes Amarillo, LP                           $76,175.00


  Reagor-Dykes Floydada, LP                           $75,526.00


  Reagor-Dykes Imports, LP                            $146,189.00


  Reagor Auto Mall, Ltd.                              $442,382.55


  Reagor-Dykes Snyder, LP                             $29,839.00



                     c)    Claims Asserted by the Texas Attorney General’s Office: The Texas
                           Comptroller asserts that the below-referenced tax obligations of Debtors
                           Reagor Auto Mall Ltd. and Reagor-Dykes Snyder, L.P. are secured by tax liens,
                           notices of which were filed in Lubbock County on October 29, 2018. The
                           Comptroller further states that although the lien notices refer to a specific

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                          obligation, each lien secures all taxes, penalty, and interest owed to the
                          Comptroller which may have accrued before or after the filing of the notice
                          pursuant to Tex. Tax Code §§ 113.001 and 113.006(b), and that each tax lien
                          continues until such time as the taxpayer owes nothing to the Comptroller per
                          Tex. Tax Code §113.105(a). Because each referenced Debtor continuously
                          owed outstanding taxes to the Comptroller since the lien notice filing, the
                          Comptroller asserts, all tax obligations owed by these two Debtors are secured
                          by the tax liens. The priority of these liens is determined by the timing of filing
                          of the tax lien notices, vis-à-vis other secured creditors, in accordance with the
                          time frames for objections to claims as set forth in the Plan.

  Case No.    Debtor          Amount         Tax Type    Asserted Claim Type   Date          Claim No.
              Reagor-Dykes                                                                   145-1
  18-50214    Motors LP        $138,244.18   Sales       Admin Exp              3/25/2019    (amending 34)
                                                                                             33-2
                                $12,840.39   Sales       Prepetition            3/25/2019    (amending33-1)
                                 $2,000.00   Franchise   Prepetition           10/25/2018    32-1
                               $153,084.57
              Reagor-Dykes                                                                   11-2 (amending
  18-50215    Imports LP         $3,052.34   Sales       Prepetition            3/25/2019    11-1)
                                                                                             12-2 (amending
                                $36,041.85   Sales       Admin Exp              3/25/2019    12-1)
                                $39,094.19
              Reagor-Dykes
  18-50216    Amarillo, LP       $8,037.55   Sales       Admin Exp              3/25/2019    54-1
                                                                                             13-2 (amending
                                   $687.31   Sales       Prepetition            3/26/2019    13-1)
                                 $2,000.00   Franchise   Prepetition           10/18/2018    12/1
                                $10,724.86
              Reagor-Dykes
              Auto                                                                           25-2 (amending
  18-50217    Company LP        $68,693.60   Sales       Admin Exp              3/25/2019    25-1)
                                 $3,587.76   Sales       Prepetition            3/25/2019    24-2
                                 $2,000.00   Franchise   Prepetition           10/26/2018    23-1
                                $74,281.36
              Reagor-Dykes
  18-50218    Plainview, LP     $20,364.34   Sales       Admin Exp              3/25/2019    10/2
                                 $1,652.90   Sales       Prepetition            3/25/2019    9/2
                                 $2,000.00   Franchise   Prepetition           10/24/2018    8/1
                                $24,017.24
              Reagor-Dykes
  18-50219    Floydada, LP      $21,338.55   Sales       Admin Exp              3/26/2019    11/2
                                 $2,190.72   Sales       Prepetition            3/26/2019    10/2
                                 $2,000.00   Franchise   Prepetition           10/25/2018    9/1
                                $25,529.27




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              Reagor-Dykes
  18-50321    Snyder, LP            $11,114.94    Sales       Prepetition           1/24/2019   23-1 [secured]
                                                                                                24-2
                                                                                                (amending
                                   $24,043.16     Sales       Admin Exp             3/25/2019   24-1)


                                      $1,000.00   Franchise   Prepetition           1/24/2019   25-1 [secured]
                                     $36,158.10
              Reagor-Dykes
  18-50322    III, LLC
              Reagor-Dykes
  18-50323    II, LLC
              Reagor Auto
  18-50324    Mall, Ltd             $74,032.42    Sales       Admin Exp             3/22/2019   46-1


                                    $27,454.78    Sales       Prepetition           3/22/2019   45-1




                                  $1,442,427.49   Franchise   Prepetition           3/22/2019   43-1




                                      $4,077.55   IFTA        Prepetition           3/22/2019   42-1
                                  $1,547,992.24
              Reagor Auto
  18-50325    Mall I, LLC            $95,189.13   Sales       Prepetition           4/18/2019   19-1


                     d)       Pending Litigation: The Debtors list the following litigation filed against one
                              or more of the Debtors that was pending as of the Petition Date:

                          Style of Case                                           Status
  Zigler Motors, Inc. v. Reagor Auto Mall, Ltd. & Administratively closed; Suggestion of
  Reagor Auto Mall I, LLC                         bankruptcy filed.
  James Wood Autopark v. Reagor Auto Mall, Ltd.               Pending; Suggestion of bankruptcy filed.
  Citizens State Bank v. Texas Department of Motor Pending; Suggestion of bankruptcy filed.
  Vehicles and Reagor-Dykes Snyder, L.P.
  First Bank and Trust v. Reagor Auto Mall, Ltd., et. Pending; Suggestion of bankruptcy filed.
  al.
  Nyle Maxwell of Taylor, LLC v. Reagor Auto Mall, Pending; Suggestion of bankruptcy filed.
  Ltd. et. al.


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                     Style of Case                                        Status
  World Motors, LLC v. Reagor-Dykes Dallas, LP, Pending; Suggestion of bankruptcy filed.
  Reagor Auto Mall, Ltd., et. al.
  MUSA Auto Leasing and Edward Lee Mitchell v. Pending
  Family Dealership Group, LLC and Reagor Auto
  Mall
  ND Auto Sales, LLC v. Reagor Auto Mall, Ltd.       Pending
  Vandergriff v. Reagor Auto Mall, Ltd., et. al.     Pending

         Section 7.3       Unsecured Claims.

 The Schedules of each individual Debtor reflect Unsecured Claims in the following amounts: Reagor-
 Dykes Motors, LP in the amount of $2,171,246.74, Reagor-Dykes Auto Company, LP in the amount
 of $1,798,097.23, Reagor-Dykes Plainview, LP in the amount of $1,194,015.63, Reagor-Dykes
 Floydada, LP in the amount of $628,889.03, Reagor-Dykes Imports, LP in the amount of
 $2,138,876.83, Reagor-Dykes Amarillo, LP in the amount of $1,458,492.84, Reagor-Dykes Snyder,
 L.P. in the amount of $2,926,075.80, Reagor Auto Mall, Ltd. in the amount of $13,858,386.07.

 The claims registers for each individual Debtor reflect Unsecured Claims asserted in the following
 amounts: Reagor-Dykes Motors, LP in the amount of $140,182,189.64,Reagor-Dykes Auto Company,
 LP in the amount of $ 144,744,831.79, Reagor-Dykes Plainview, LP in the amount of $
 148,555,514.12, Reagor-Dykes Floydada, LP in the amount of $ $149,151,071.06, Reagor-Dykes
 Imports, LP in the amount of $153,007,764.29, Reagor-Dykes Amarillo, LP in the amount of
 $154,947,354.34, Reagor-Dykes Snyder, L.P. in the amount of $ 41,286,253.33, Reagor Auto Mall,
 Ltd. in the amount of $ 60,097,393.15.

 The bar date for filing additional proofs of claim against the Original Debtors was December 5, 2018;
 however, the bar date for the New Debtors was March 28, 2019.

         Section 7.4       Intercompany Claims.

 Due to the intertwined nature of the Debtors’ prepetition business operations, the state of the books
 and records when BlackBriar assumed its role as CRO, and in an effort to equitably maximize the
 recovery to creditors, all intercompany claims that the Debtors hold against one another are separately
 classified under the Plan and will receive no distribution.

                            ARTICLE VIII
      SUMMARY OF KEY MATTERS ARISING DURING THE CHAPTER 11 CASES

         Section 8.1     Commencement of the Debtors’ Cases. Each Chapter 11 Case was
 commenced by the filing of a voluntary petition under chapter 11 on the dates identified as each
 Petition Date. Shortly after these cases were commenced, the Debtors filed several motions incident
 to the management of the Bankruptcy Cases that were granted by the Court, including the authority




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 to retain certain professionals and the joint administration of the Debtors’ cases under one case
 number.

        Section 8.2 Employment of the Chief Restructuring Officer. The Debtors employed
 BlackBriar LLC to assist with restoring confidence in consumers, employees, and the community.
 BlackBriar assist the Debtor with stabilizing operations and acted as an objective intermediary that has
 pursued a path in the best interest of all parties in interest.

         Section 8.3 Auction of Assets Held by Original Debtors. On September 10, 2018, the
 Original Debtors filed a Motion for Entry of an Order (I) Authorizing and Approving: (A) Bid
 Procedures; (B) Stalking Horse Bidder and Overbid Protections; and (C) Form and Manner of Notices
 [Doc. No. 222]. The Original Debtors were successful in procuring a stalking horse bidder and held
 an auction on the sale of the Original Debtors’ Assets. However, during the sale process, the New
 Debtors filed for bankruptcy protection. Around the time of the auction, the Debtors were apprised
 of certain potential investors seeking to reorganize the Debtors as opposed to a sale. After further
 negotiations and discussion, the Debtors believed that it was in the best interest of the stakeholders
 and the Estates to pursue a plan of reorganization as opposed to a sale of assets. On November 28,
 2018, the Debtors asked that the Court table the sale indefinitely so that the Debtors can pursue the
 plan of reorganization. The Court granted the Debtors’ request.

          Section 8.4 Consumer Protection Efforts. Motion for Order Authorizing and Directing
 Retail Lenders to Pay Outstanding Tax, Title, and License Fees and Trade-Lien Payoffs.
 Understanding that innocent consumers were facing difficult circumstances, on October 9, 2018, the
 Debtors filed a Motion for Order Authorizing and Directing Retail Lenders to Pay Outstanding Tax, Title, and
 License Fees and Trade-Lien Payoffs (“TT&L Motion”) [Doc. No. 349]. The TT&L Motion required
 subsequent retail lenders to pay off any outstanding tax, title, and license fees or trade-lien payments
 so that impacted consumers could then receive their titles and/or registration stickers on their car.
 The Debtors have engaged in extensive discussion with prior retail lenders, current retail lenders, and
 consumers in an attempt to reach agreements that resolve the consumer’s tax, title, license fees or
 trade-lien payoffs. The Debtors have reach multiple agreements with retail lenders and are continuing
 to engage retail lenders in negotiations and, to date, the Debtors have successfully addressed issues
 incident to vehicle titles, trade in liens and TT&L for approximately 480 consumers. With that
 continued cooperation among the retail lenders, the Debtors withdrew the TT&L Motion without
 prejudice. Under the Restructuring Alternative in the Plan, retail lenders may choose to become
 Qualified Retail Lenders and take advantage of the TT&L reimbursement provisions.

         Section 8.5 Global Negotiations. The Debtors have been proactive in actively
 negotiating with floor plan lenders, dealers, retail lenders and other parties in interest on myriad
 complex issues and have had success resolving most substantive motions for relief without consuming
 the Court’s time. The Debtors have negotiated in good faith with opposing counsel on matters
 concerning everything from the use of cash collateral to motions to lift the automatic stay, and have




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 made every effort to expend the Debtors’ limited resources judiciously. The Debtors have been
 successful in reaching agreements and filing agreed orders with the Court in many instances.

                                          ARTICLE IX
                           ACCEPTANCE AND CONFIRMATION OF THE PLAN

         Section 9.1    Requirements for Confirmation. At the Confirmation Hearing, the Court
 will determine whether the provisions of section 1129 of the Bankruptcy Code have been satisfied.
 Upon the showing that all such requirements are satisfied, and that all other conditions to confirmation
 set forth in the Plan are met, the Debtors will request that the Bankruptcy Court enter an Order
 confirming the Plan under §1129(a).

         a)          Provisions of Section 1129. Section 1129 of the Bankruptcy Code, as applicable here,
                     provides as follows:

                     (i)      The Plan must comply with the applicable provisions of the
                              Bankruptcy Code, including section 1123 which specifies the
                              mandatory contents of a plan and section 1122 which requires
                              that Claims and Interests be placed in Classes with
                              “substantially similar” Claims and Interests (section
                              1129(a)(1)).

                     (ii)     The proponents of the Plan must comply with the applicable
                              provisions of the Code (section 1129(a)(2)).

                     (iii)    The Plan must have been proposed in good faith and not by
                              any means forbidden by law (section 1129(a)(3)).

                     (iv)     Any payment made or to be made by the Debtors, or by a
                              person issuing securities or acquiring property under the Plan,
                              for services or for costs and expenses in or in connection with
                              the Chapter 11 Cases, or in connection with the Plan and
                              incident to the Chapter 11 Cases, must be disclosed to the
                              Court and approved or be subject to the approval of the Court
                              as reasonable (section 1129(a)(4)).

                     (v)      The Debtors must disclose the identity and affiliations of any
                              individual proposed to serve, after Confirmation of the Plan,
                              as a director, officer, or voting trustee of the reorganized
                              debtor, of an affiliate of the Debtors participating in the Plan
                              with the Debtors, or of a successor to the Debtors under the
                              Plan. The appointment to, or continuance in, such office of
                              such individual must be consistent with the interests of the
                              Debtors’ creditors, equity holders, and with public policy. The
                              Debtors must also disclose the identity of any insider that will
                              be employed or retained by the reorganized debtor and the
                              nature of any compensation for such insider (section
                              1129(a)(5)).

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                     (vi)     The Plan must meet the “best-interest-of-creditors” test,
                              which requires that each holder of a Claim or Interest of a Class
                              of Claims or Interests that is impaired under the Plan either
                              accept the Plan or receive or retain under the Plan on account
                              of such Claim or Interest property of a value as of the Effective
                              Date of the Plan, that is not less than the amount that such
                              holder would receive or retain if the Debtors were liquidated
                              on such date under chapter 7 of the Code. If the holders of a
                              Class of Secured Claims make an election under section
                              1111(b) of the Code, each holder of a Claim in such electing
                              Class must receive or retain under the Plan on account of its
                              Claim property of a value, as of the Effective Date of the Plan,
                              that is not less than the value of its interest in the Debtors’
                              interest in the property that secures its Claim (section
                              1129(a)(7)). To calculate what non-accepting holders would
                              receive if the Debtors were liquidated under chapter 7, the
                              Court must determine the dollar amount that would be
                              generated upon disposition of the Debtors’ assets and reduce
                              such amount by the costs of liquidation. Such costs would
                              include the fees of a Trustee (as well as those of counsel and
                              other professionals) and all expenses of sale.

                     (vii)    Each Class of Claims or Interests must either accept the Plan
                              or not be impaired under the Plan (section 1129(a)(8)).
                              Alternatively, as discussed herein, the Plan may be confirmed
                              over the dissent of a Class of Claims or Interests if the
                              “cramdown” requirements of section 1129(b) of the
                              Bankruptcy Code are met.

                     (viii)   Except to the extent that the holder of a particular Claim has
                              agreed to a different treatment of such Claim, the Plan must
                              provide that holders of Administrative Claims and Priority
                              Claims (other than tax claims) will be paid in full in cash on the
                              Effective Date of the Plan, and that holders of priority tax
                              Claims will receive on account of such Claims deferred cash
                              payments, over a period not exceeding six (6) years after the
                              date of assessment of such tax, of a value, as of the Effective
                              Date of the Plan, equal to the Allowed amount of such Claim
                              (section 1129(a)(9)).

                     (ix)     At least one impaired Class must accept the Plan, determined
                              without including the acceptance of the Plan by any insider
                              holding a Claim of such Class (section 1129(a)(10)).

                     (x)      The Plan must be “feasible”. In other words, it cannot be likely
                              that confirmation of the Plan will be followed by the
                              liquidation, or the need for further financial reorganization, of

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                             the Debtors or any successor to the Debtors under the Plan,
                             unless such liquidation is proposed in the Plan (section
                             1129(a)(11)).

                     (xi)    All fees required to be paid under the Bankruptcy Code have
                             been paid or the Plan provides for such payment on its
                             Effective Date (section 1129(a)(12)).

         b)          The Plan Meets All of the Requirements for Confirmation. The Debtors believe
                     that the Plan satisfies all statutory requirements of chapter 11 of the Code and should
                     be confirmed. More specifically:

                     (i)     The Plan complies with all of the applicable provisions of the
                             Bankruptcy Code;

                     (ii)    The Debtors have complied with the Bankruptcy Code and
                             have proposed the Plan in good faith;

                     (iii)   All disclosure requirements concerning payments made or to
                             be made for services rendered in connection with the Chapter
                             11 Cases or the Plan have been, or will be met prior to or at
                             the Confirmation Hearing; and

                     (iv)    Administrative Claims, Priority Claims, and fees required to be
                             paid under the Code are appropriately treated under the Plan.

         c)          The Plan is Feasible: Restructuring Alternative: Furthermore, the Plan is feasible.
                     The Bankruptcy Code requires that, as a condition to Confirmation of a plan, the
                     Court find that Confirmation is not likely to be followed by a liquidation or a need for
                     further financial reorganization except as proposed in that plan. The Debtors believe
                     the Plan is feasible as it, under the Restructuring Alternative, provides for payment of
                     creditors in accordance with the waterfall provisions of the Code, and for the
                     continuation of the Debtors’ business pursuant to the Post-Confirmation Business
                     Plan. Initially, the Plan provides for the payment in full of all Allowed Administrative
                     Claims and Priority Claims by the Reorganized Debtors on or promptly after the
                     Effective Date except for Priority Tax Claims which will be paid over time in
                     accordance with the Bankruptcy Code. Next, Confirmation of the Plan shall effect the
                     formation of the Creditors Trust. The Creditors’ Trust Assets shall consist of (a) under
                     the Restructuring Alternative, 10% of the New Equity of the Reorganized Debtors
                     that will be issued to the Creditors Trust pursuant to a Restructuring under this Plan
                     for the express benefit of creditors holding Allowed Class 11 Claims against the
                     Debtors, subject to the New Equity Redemption Right, and (b) under the Liquidation
                     Alternative, all Causes of Action and the Litigation Proceeds for the express benefit
                     of creditors holding Allowed Class 11, 12, 13, 14, and 15 Claims.

                     With regard to the Reorganized Debtors’ future business operations, the Post-
                     Confirmation Business Plan, which consists of the three year projections of the income
                     and expenses of the Debtors, including payroll, professional fees, operational

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                     expenses, and payments due to Allowed Administrative Claims, Priority Tax Claims,
                     and Priority Non-Tax Claims pursuant to the Plan, is attached as Exhibit B. The Post-
                     Confirmation Business Plan includes various alternative business models on which the
                     Restructuring Alternative may be achieved, labeled as B-1, B-2, and B-3. Upon
                     confirmation of the Plan, the Dealerships will be recapitalized by the $13 million New
                     Equity Infusion from the Plan Sponsor, the Debtors will benefit from the proven
                     operational expertise of the Fin Ewing Group including Mr. Ron Blaylock as Chief
                     Executive Officer, and will be well-positioned to accomplish their long-term business
                     and financial goals as outlined in the Plan.20 The Debtors believe that the projections
                     set forth in the Post-Confirmation Business Plan are conservative and achievable; the
                     Plan is feasible.

          d)         The Plan is Feasible: Liquidating Alternative: If the Restructuring Alternative is
                     unsuccessful, the Plan will instead go effective via the orderly and controlled
                     disposition of all Assets by the Creditors Trustee under the Liquidation Alternative
                     with Dennis Faulkner of Lain, Faulkner & Co. LLC as the proposed Creditors Trustee.
                     To address an objection raised by a creditor regarding the need to engage a new and
                     independent trustee, the Debtors suggested Mr. Faulkner and the objecting creditor
                     agreed. Mr. Faulkner has served as a post-confirmation plan trustee in numerous large
                     and complex Chapter 11 cases, and is well-qualified for this role. Mr. Faulkner will be
                     assisted as necessary by Lyndon James, a principal of BlackBriar Advisors, LLC.
                     BlackBriar is the duly employed Chief Restructuring Officer of the Debtors since the
                     inception of these cases; as such, BlackBriar and Mr. James have irreplaceable
                     institutional knowledge compared to any chapter 7 trustee. With Mr. James’s
                     assistance and his own significant experience, Mr. Faulkner will be best positioned to
                     oversee an orderly liquidation of assets that will result in the highest and best return
                     to all creditors and parties in interest. In addition, Mr. Faulkner will not earn fees for
                     such liquidation in excess of the fees that would have been earned by a chapter 7
                     trustee.

                                               ARTICLE X
                                         LIQUIDATION ANALYSIS

         The Debtors believe that the Plan, which either provides for the continued business operations
 of the Debtors, or a controlled orderly liquidation of assets, affords creditors the potential for the
 greatest realization from the Debtors’ assets, and, therefore, is in the best interests of creditors. As
 noted above, the value of the Debtors is in their Dealer Agreements, proven commitment to Lubbock
 and surrounding towns in West Texas, and – post-confirmation - the proven operational experience
 and expertise of the Fin Ewing Group including Mr. Ron Blaylock. If the Plan goes effective pursuant
 to the Restructuring Alternative, then maintaining the Debtors’ deep-seated commitment to the
 community of Lubbock and continuity of business operations pursuant to the Dealer Agreements will


 20 Mr. Blaylock’s Executive Biography is attached as Exhibit G. The Post-Confirmation Business Plan includes all
 proposed compensation to Mr. Blaylock and the Fin Ewing Group for consulting services. If the proposed compensation
 is increased in a material way, the Debtors will include that increase in the Plan Supplement Documents. Exhibit G
 complies with §1129(a)(5)(A)(i), but neither Mr. Blaylock nor anyone currently employed with the Fin Ewing Group is an
 insider of the Debtors implicating §1129(a)(5)(B).


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 be the focus of the Debtors’ post-confirmation business, all as set forth in the Restructuring
 Alternative of the Plan and the Post-Confirmation Business Plan.

         If the Plan is instead confirmed via the Liquidation Alternative, same is still preferable to a
 chaotic Chapter 7. As stated above, the proposed Trustee, Mr. Faulkner as assisted by Mr. James, will
 accomplish the dual goals to ensure a fresh look by an independent third party and simultaneously to
 preserve the irreplaceable institutional knowledge compared to a Chapter 7 trustee. To address any
 concerns regarding the comparative cost of a Creditors Trustee, the compensation to be paid to the
 Creditors Trustee under the Liquidation Alternative will not exceed the compensation that would be
 paid to a Chapter 7 trustee if the Chapter 11 Cases were converted to administration under Chapter 7
 of the Bankruptcy Code. For that reason and others set forth below and to be explained at the
 Confirmation hearing, the Debtors believe that a controlled liquidation under Chapter 11 of the
 Bankruptcy Code through the Liquidation Alternative will generate more value to all general unsecured
 creditotrs.

         The key benefits to confirmation of the Plan with Mr. Faulkner as Creditors Trustee with
 BlackBriar’s assistance as opposed to conversion include: BlackBriar has already invested significant
 time and resources investigation the Debtors’ Claims and Causes of Action (including Chapter 5
 Causes of Action), BlackBriar is best positioned to oversee the continued redress of TT&L issues for
 the benefit of consumers, and BlackBriar is familiar with the Debtors’ dealerships, books and records
 and business operations. By contrast, a Chapter 7 trustee likely would not have the wide-ranging
 experience that Mr. Faulkner has in large and complex Chapter 11 cases, would incur significant cost
 and delay in “catching up” on all aspects of the Debtors and the Causes of Action with which
 BlackBriar is already well-versed, and liquidation of the remaining inventory vehicles by a Chapter 7
 trustee at a “fire sale” would yield little comparative value to the Debtors’ secured lenders and no
 value for General Unsecured Creditors. Relatedly and to that point, the auction of the new and used
 vehicles currently in the Debtors’ possession would not raise nearly enough funds necessary to pay
 off their respective floor plan lenders that claim superior liens – Ford Credit, GM Financial, First
 Capital Bank and FB&T. A liquidation analysis depicting the likely results of a fire-sale liquidation is
 attached hereto as Exhibit “C.”

         In a Chapter 7 liquidation scenario, a trustee would be appointed to administer the Estates, to
 resolve pending controversies against the Debtors and claims of the Estates against other parties, and
 to make distribution to Creditors. If the Cases were converted to cases under Chapter 7, significant
 additional Administrative Expenses would be incurred, and any distributions to holders of Claims
 would be substantially delayed and, in all likelihood, reduced as compared to the anticipated results of
 Confirmation of the Plan. A Chapter 7 trustee would be entitled to compensation in accordance with
 the scale set forth in § 326 of the Bankruptcy Code, and might also seek to retain new professionals,
 including attorneys and accountants, in order to resolve any disputed Claims and possibly to pursue
 claims of the Estates against other parties. There is a strong probability that such Chapter 7 trustee
 would not possess any particular knowledge of the Debtors’ industry. The trustee and any such new
 professionals retained by the trustee would need to expend time familiarizing themselves with the
 Debtors’ operations specifically and the industry generally, resulting in a duplication of effort,
 increased expense, and delay in payment to Creditors. Under the Bankruptcy Rules, a new bar date
 for the filing of proofs of claim would have to be set, and additional Claims against the Estates that
 will soon be time-barred (because they were not filed before the applicable bar dates set in the Cases)
 could be asserted.

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          Further, Ford Credit objects to the Liquidating Alternative. The Debtors believe that
 objection is a confirmation objection. The Debtors also believe that Ford Credit opposes the
 Liquidating Alternative because it wants to control any liquidation through the election of a chapter 7
 trustee. The Debtors do not believe that control over the liquidation or trustee election by any
 potential litigation target is proper or in the best interests of the Estates, given Ford Credit’s or
 other party’s potential litigation risk under any liquidation scenario. Further, a trustee-election fight
 will be expensive, which gives Ford Credit or other potential litigation target an advantage over the
 Estates. For a lot of reasons, including that the Creditor Trustee (with the assistance of BlackBriar)
 will be free from any influence by a potential litigation target and will not earn more than a chapter 7
 trustee would in liquidation through chapter 7 of the Bankruptcy Code, the Debtors believe that a
 controlled liquidation under the Liquidating Alternative is in the best interests of the Estates.

 THE DEBTORS BELIEVE THAT CONFIRMATION AND IMPLEMENTATION OF
 THE PLAN IS PREFERABLE TO ANY OF THE ALTERNATIVES DESCRIBED
 HEREIN BECAUSE IT SHOULD PROVIDE GREATER RECOVERIES THAN THOSE
 AVAILABLE IN A CHAPTER 7 LIQUIDATION TO THE HOLDERS OF SECURED
 AND UNSECURED CLAIMS WHO WOULD LIKELY RECEIVE LESS IN A CHAPTER
 7 LIQUIDATION. IN ADDITION, OTHER ALTERNATIVES WOULD INVOLVE
 DELAY, UNCERTAINTY, AND SUBSTANTIAL ADMINISTRATIVE COSTS.

                                          ARTICLE XI
                                      VOTING PROCEDURES

 ACCEPTANCE OR REJECTION OF THE PLAN WILL BE DETERMINED,
 PURSUANT TO THE BANKRUPTCY CODE, BASED UPON THE ALLOWED CLAIMS
 AND ALLOWED INTERESTS THAT ACTUALLY VOTE ON THE PLAN.
 THEREFORE, IT IS IMPORTANT THAT CLAIMANTS EXERCISE THEIR RIGHT TO
 VOTE TO ACCEPT OR REJECT THE PLAN.

          Section 11.1 Classes Entitled to Vote on the Plan. All members of Impaired Classes who
 hold Allowed Claims are entitled to vote to accept or reject the Plan. Section 1124 of the Bankruptcy
 Code generally provides that a class of claims or interests is considered to be impaired under a plan
 unless the plan does not alter the legal, equitable, and contractual rights of the holders of such claims
 or interest. For purposes of Plan solicitation, Holders of Allowed Claims in Class 1 are Unimpaired;
 therefore, they are presumed to accept the Plan. Holders of Claims in Classes 1A, 2, 3, 4, 5, 6, 7, 8, 9,
 10, 11, 12, 13, 14, and 15 are Impaired under the Plan; therefore, they are entitled to vote to accept or
 reject the Plan. Holders of Allowed Claims in Class 15 will receive no Distributions under the Plan
 on account of said Claims if the Plan is Confirmed under the Restructuring Alternative, and Holders
 of Allowed Claims in Class 16 and 17 and Interests in Class 18 are Impaired and will receive no
 Distributions under the Plan on account of said Claims or Interests; therefore, Classes 16, 17 and 18
 are presumed to reject the Plan under § 1126(g) of the Bankruptcy Code.

         Section 11.2 Persons Entitled to Vote on the Plan. Only holders of Allowed Claims and
 holders of Disputed Claims which have been temporarily allowed for voting purposes are entitled to
 vote on the Plan. For purposes of the Plan, an Allowed Claim is (i) a Claim against or Interest in a
 Debtor, proof of which, if filed on or before the Bar Date, which is not a Disputed Claim or Disputed
 Interest, (ii) if no proof of claim or interest was so filed, a Claim against or Interest in a Debtor that


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 has been or hereafter is listed by a Debtor in the Schedules as liquidated in amount and not disputed
 or contingent, or (iii) a Claim or Interest allowed hereunder or by Final Order. An Allowed Claim or
 Allowed Interest does not include any Claim or Interest or portion thereof which is a Disallowed
 Claim or Disallowed Interest which has been subsequently withdrawn, disallowed, released or waived
 by the holder thereof, by this Plan, or pursuant to Final Order. Unless otherwise specifically provided
 in the Plan, an Allowed Claim or Allowed Interest shall not include any amount for punitive damages
 or penalties. Therefore, although the holders of Disputed Claims will receive ballots, these votes will
 not be counted unless such Claims become Allowed Claims as provided under the Plan or are
 temporarily allowed for voting purposes by the Court.

      THE CLAIMS IN CLASSES 1A, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14 AND 15 UNDER
 THE PLAN ARE IMPAIRED AND ARE ENTITLED TO VOTE WITH RESPECT TO
 ACCEPTANCE OR REJECTION OF THE PLAN. HOLDERS OF ALLOWED CLAIMS
 IN CLASS 15 WILL RECEIVE NO DISTRIBUTIONS UNDER THE PLAN ON
 ACCOUNT OF SAID CLAIMS IF THE PLAN IS CONFIRMED UNDER THE
 RESTRUCTURING ALTERNATIVE, AND HOLDERS OF ALLOWED CLAIMS IN
 CLASS 16 AND 17 AND INTERESTS IN CLASS 18 ARE IMPAIRED AND WILL
 RECEIVE NO DISTRIBUTIONS UNDER THE PLAN ON ACCOUNT OF SAID
 CLAIMS OR INTERESTS; THEREFORE, THEY ARE PRESUMED TO REJECT THE
 PLAN. INTERESTS IN CLASS 18 WILL BE EXTINGUISHED.

          Section 11.3 Vote Required for Class Acceptance. During the Confirmation Hearing, the
 Bankruptcy Court will determine whether the Classes voting on the Plan have accepted the Plan by
 determining whether sufficient acceptances have been received from the holders of Allowed Claims
 actually voting in such Classes. A Class of Claims will be determined to have accepted the Plan if the
 holders of Allowed Claims in the Class casting votes in favor of the Plan (i) hold at least two-thirds of
 the total amount of the Allowed Claims of the holders in such Class who actually vote and
 (ii) constitute more than one-half in number of holders of the Allowed Claims in such Class who
 actually vote on the Plan.

 As a condition to Confirmation, the Bankruptcy Code requires that each impaired Class of Claims or
 Interests accept the Plan, subject to the “cramdown” exception of §1129(b) described herein. To
 effectuate the §1129(b) exception, at least one impaired Class of Claims must accept the Plan.

         Section 11.4     Accepting Vote Is a Vote For Confirmation Under Either Alternative.

 As stated throughout this Disclosure Statement, the Debtors believe that the Plan is confirmable under
 either the Restructuring or Liquidation Alternative. A vote to accept the Plan is a vote in favor of
 Confirmation regardless of under which alternative the Plan ultimately proceeds to an Effective Date.
 If the Debtors are unable to go “effective” on the Restructuring Alternative, they will notify the Court
 and go “effective” on the Liquidation Alternative.

         Section 11.6     Voting Instructions.

                     a)   Ballots and Voting. Holders of Allowed Claims entitled to
                          vote on the Plan have been sent a Ballot, together with
                          instructions for voting, with this Disclosure Statement.
                          Claimants should read the Ballot carefully and follow the

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                          instructions contained therein. In voting for or against the
                          Plan, please use only the Ballot that accompanies this
                          Disclosure Statement.

 EACH CREDITOR WILL RECEIVE A SINGLE BALLOT ONLY. IF YOU HAVE MORE
 THAN ONE CLAIM AGAINST ONE OF THE DEBTORS, OR YOU HAVE CLAIMS
 AGAINST MORE THAN ONE DEBTOR, YOU MAY REPRODUCE THIS BALLOT AS
 MANY TIMES AS NECESSARY TO PROPERLY VOTE YOUR CLAIMS. IF YOU HAVE
 ANY QUESTIONS CONCERNING THE BALLOT OR VOTING PROCEDURES, YOU
 SHOULD CONTACT COUNSEL FOR THE DEBTORS:

                                      C. ASHLEY ELLIS
                           FOLEY GARDERE, FOLEY & LARDNER LLP
                             2021 MCKINNEY AVENUE, SUITE 1600
                                      DALLAS, TX 75201
                                        (214) 999-3000
                                    AELLIS@FOLEY.COM

                     b)   Returning Ballots and Voting Deadline. You should
                          complete and sign each Ballot that you receive and return it
                          either via email to aellis@foley.com or in the pre-addressed
                          envelope enclosed with each Ballot to the counsel for the
                          Debtor in the self-addressed envelope provided, by the Voting
                          Deadline.

 THE VOTING DEADLINE IS 4:00 P.M., CENTRAL STANDARD TIME, ON
 [____________, 2019]. TO BE COUNTED, BALLOTS MUST BE ACTUALLY RECEIVED
 BY COUNSEL FOR THE DEBTOR VIA EMAIL OR VIA U.S. MAIL OR OTHER
 COURIER ON OR BEFORE 4:00 P.M., CENTRAL STANDARD TIME, ON THE
 VOTING DEADLINE AT THE ADDRESS SET FORTH IN THE BALLOT
 INSTRUCTIONS WHICH ACCOMPANY THE ENCLOSED BALLOT. EXCEPT TO
 THE EXTENT ALLOWED BY THE BANKRUPTCY COURT, BALLOTS RECEIVED
 AFTER THE VOTING DEADLINE MAY NOT BE ACCEPTED OR USED IN
 CONNECTION WITH THE DEBTORS’ REQUEST FOR CONFIRMATION OF THE
 PLAN OR ANY MODIFICATION THEREOF.

                     c)   Incomplete or Irregular Ballots. Ballots which fail to
                          designate the Class to which they apply shall be counted in the
                          appropriate Class as determined by the Debtors, subject only
                          to contrary determinations by the Bankruptcy Court.

                     d)   Changing Votes. Bankruptcy Rule 3018(a) permits a
                          Claimant, for cause, to move the Bankruptcy Court to permit
                          such claimant to change or withdraw its acceptance or rejection
                          of a plan of reorganization.

         Section 11.7 Disputed and Unliquidated Claims. Disputed Claims are not entitled to
 vote to accept or reject the Plan. If you are the holder of a Disputed Claim, you may ask the Bankruptcy

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 Court pursuant to Bankruptcy Rule 3018 to have your Claim temporarily Allowed for the purpose of
 voting.

         Section 11.8 Possible Reclassification of Creditors and Interest Holders. The Debtors
 are required pursuant to §1122 of the Bankruptcy Code to place Claims and Interests into Classes that
 contain substantially similar Claims or Interests. While the Debtors believe that all Claims and Interests
 are classified in the Plan in compliance with §1122, it is possible that a Claimant or Interest holder
 may challenge the classification of its Claim or Interest. If the Debtors are required to reclassify any
 Claims or Interests of any Claimants or Interest holders under the Plan, the Debtors, to the extent
 permitted by the Bankruptcy Court, intend to continue to use the acceptances received from such
 Claimants or Interest holders pursuant to the solicitation of acceptances using this Disclosure
 Statement for the purpose of obtaining the approval of the Class or Classes of which such Claimants
 or Interest holders are ultimately deemed to be a member. Any reclassification of Claimants or Interest
 holders should affect the Class in which such Claimants or Interest holders were initially a member,
 or any other Class under the Plan, by changing the composition of such Class and the required vote
 thereof for approval of the Plan.

                                  ARTICLE XII
                      CRAMDOWN OR MODIFICATION OF THE PLAN

         Section 12.1 “Cramdown:” Request for Relief under Section 1129(b). If any Impaired
 Class of Claims does not accept the Plan in accordance with § 1129(a) of the Bankruptcy Code, the
 Debtors shall request the Bankruptcy Court to confirm the Plan in accordance with the provisions of
 § 1129(b) of the Bankruptcy Code as to that non-accepting Impaired Class.

         The Court may confirm a plan, even if it is not accepted by all impaired Classes, if a plan has
 been accepted by at least one impaired Class of Claims and the plan meets the “cramdown” provisions
 set forth in § 1129(b) of the Code. The “cramdown” provisions require that the Court find that a plan
 “does not discriminate unfairly” and is “fair and equitable” with respect to each non-accepting
 impaired Class. In the event that all impaired Classes do not vote to accept the Plan, the Debtors will
 request that the Bankruptcy Court nonetheless confirm the Plan pursuant to the provisions of §
 1129(b) of the Code.

         The Court may find that the Plan is “fair and equitable” with respect to a Class of non-
 accepting impaired Interests only if (a) the holder of an Interest will receive or retain under the Plan
 property of a value as of the Plan’s Effective Date equal to the greatest of any fixed liquidation
 preference or redemption price or the value of such Interest or (b) the holder of any Interest that is
 junior to such Interest will not receive or retain any property under the Plan.

         The Court may find that the Plan is “fair and equitable” with respect to a Class of non-
 accepting impaired Unsecured Claims only if (a) each impaired unsecured Creditor receives or retains
 under the Plan property of a value as of the Effective Date of such Plan equal to the amount of its
 Allowed Claim, or (b) the holder of any Claim or Interest that is junior to the Claims of the dissenting
 Class will not receive or retain any property under the Plan.

          The Court may find that the Plan is “fair and equitable” with respect to a Class of non-
 accepting Secured Claims, only if, under the Plan, (a) the holder of each Secured Claim in such Class
 retains such holder’s lien and receives deferred cash payments totaling at least the Allowed amount of

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 such Secured Claim and having a value, as of the Effective Date of the Plan, equal to or in excess of
 the value of such holder’s interest in the estate’s interest in the collateral for the Secured Claim, (b) the
 collateral for such Secured Claim is sold, the lien securing such Claims attached to the proceeds, and
 such liens on proceeds are afforded the treatment described under clause (a) or (c) of this sentence,
 or (c) the holders of such Secured Claims realize the “indubitable equivalent” of their claims.

         If all of the provisions of section 1129 are met, the Court may enter an order confirming the
 Plan.

         Section 12.2 The Plan Meets the “Best-Interest-of-Creditors” Test. The “best interest
 of creditors” test requires that the Court find that the Plan provides to each non-accepting holder of
 a Claim or Interest treated under the Plan a recovery which has a present value at least equal to the
 present value of the distribution that such person would receive from the Debtor if the Debtor were
 liquidated under Chapter 7 of the Code. An analysis depicting the likely recoveries and effect on
 Creditors in the event of a liquidation under Chapter 7 of the Code, including references to the likely
 increase in administrative expenses, is contained on Exhibit C.

          Section 12.3 The Plan Meets the Cramdown Standard with Respect to Any Impaired
 Class of Claims Rejecting the Plan. The Plan satisfies the provisions for cramdown under
 §1129(b)(2) of the Code. Secured Creditors are, at a minimum, receiving (i) payment of their Allowed
 Secured Claim in full in cash, including interest, if applicable, as required under § 506(b) of the
 Bankruptcy Code; (ii) delivery of the Collateral securing their Allowed Secured Claim; or (iii) issuance
 of a restructured note with a present value equal to the amount of the value of their Collateral with
 interest, all in accordance with §1129(b)(2)(A). Interest Holders are not receiving or retaining any
 property under the Plan on account of their Interests, thus the Plan satisfies §1129(b)(2)(B)(ii) should
 a Class of Unsecured Claims reject the Plan. In the event that an impaired Class rejects the Plan, the
 Plan shall be deemed a motion for cramdown of such Class under §1129(b)(2) of the Code.

          Section 12.4 Modification or Revocation of the Plan; Severability. Subject to the
 restrictions on modifications set forth in §1127 of the Bankruptcy Code and any applicable notice
 requirements, the Debtors reserve the right to alter, amend or modify the Plan before its substantial
 consummation. The Debtors also reserve the right to withdraw the Plan prior to the Confirmation
 Date. If the Debtors withdraw the Plan, or if Confirmation does not occur, then the Plan shall be null
 and void in all respects, and nothing contained in the Plan will prejudice in any manner the rights of
 the Debtors.

 If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be
 invalid, void, or unenforceable, the Bankruptcy Court, at the request of the Debtors, has the power to
 alter and interpret such term or provision to make it valid or enforceable to the maximum extent
 practicable, consistent with the original purpose of the term or provision held to be invalid, void, or
 unenforceable, and such term or provision will then be applicable as altered or interpreted.
 Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
 provisions of the Plan will remain in full force and effect and will in no way be affected, impaired or
 invalidated by such holding, alteration, or interpretation.




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                                          ARTICLE XIII
                                          RISK FACTORS

         Section 13.1 Factors Relating to Chapter 11 and Restructuring via the Plan. The
 following is intended as a summary of certain risks associated with the Plan, but is not exhaustive and
 must be supplemented by the analysis and evaluation of the Plan and this Disclosure Statement made
 by each Claimant as a whole in consultation with such Claimant’s own advisors. In the event of a
 Restructuring, it is unlikely, although possible, that the Reorganized Debtors will not be able to
 procure necessary space for the dealerships or floor plan financing, will be unable to procure the
 services of an adequate number of new or returning employees, and/or will face challenges restoring
 systems and controls to sell a high volume of cars, that the parties to the Dealer Agreements will seek
 termination despite Confirmation, that consumers may be resistant to doing business with the
 Reorganized Debtors due to negative press coverage and/or unfavorable attitudes toward the Debtors
 among those in the Lubbock community, or the projections set forth in the Post-Confirmation
 Business Plan will not be met. The fact remains, however, that in order for General Unsecured
 Creditors to be paid, and for Ford Credit, GM Financial, First Capital Bank or FB&T, to maximize
 recovery for the Debtors’ business operations must continue post-confirmation. The value of the
 Debtors’ estates is inexorably tied to the value that may be realized from continued/revived operations
 of the Dealerships at the Locations, whether the Plan is confirmed or not. In this regard, the Debtors’
 proposed Restructuring is dependent on the existence of valid dealer license(s) and franchise
 agreement(s) with what is known in the industry as “OEMs,” which stands for Original Equipment
 Manufacturers. As relevant here, the OEMs include Ford Motor, General Motors, Mitsubishi and
 Gulf States Toyota. At this time, disputes exist with each of OEM about the Debtors’ ability to
 assume the respective franchise agreements pursuant to the Bankruptcy Code. Therefore, the Post-
 Confirmation Business Model attached as Exhibit B includes various alternative business models on
 which the Restructuring Alternative may be achieved, labeled as B-1, B-2, and B-3. As indicated
 thereon, model B-1 contemplates reorganized operations under franchise agreements with all
 Dealerships; model B-2 contemplates reorganized operations under franchise agreements with Ford,
 Toyota, and Mitsubishi; and model B-3 contemplates reorganized operations under franchise
 agreements with Ford and Mitsubishi.

 Ford Credit has approved Mr. Dykes’s involvement, including ownership, in the Reorganized Debtors.
 At this time, no OEM has approved Mr. Dykes’s future involvement in the Reorganized Debtors.
 The Debtors believe that, unless they reach agreement with the OEMs prior to Confirmation, the
 issue of Mr. Dykes’s future involvement in the Reorganized Debtors will be resolved by the Plan
 Sponsor or the Court at or after Confirmation. At the request of the OEMs, the Debtors make, but
 do not agree with the representations stated, the following additional disclosures:

 Statement by Toyota: The Toyota Dealer Agreement with Reagor-Dykes Plainview, LP d/b/a Reagor-
 Dykes Toyota is a twenty-four month term agreement. That agreement was set to expire on
 November 8, 2017. Gulf States Toyota (“GST”) issued two six month extensions. The second
 extension letter set November 8, 2018 as the expiration date. On October 17, 2018, GST and Reagor-
 Dykes Toyota agreed to the entry of that certain Agreed Order Granting Gulf States Toyota, Inc.’s
 Motion for Relief From The Automatic Stay [Docket No. 401] pursuant to which. GST sent a non-
 renewal notice on December 5, 2018. GST asserts that under Chapter 2301 of the Texas Occupations
 Code, Reagor-Dykes Toyota had until February 8, 2019 to file a protest with the Texas Department
 of Motor Vehicles to challenge the non-renewal of its Toyota Dealer Agreement. In January 2019,

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 GST and Reagor-Dykes Toyota agreed to the entry of that certain Agreed Order Granting Gulf States
 Toyota, Inc.’s Motion for Relief From the Automatic Stay [Docket No. 864] pursuant to which GST
 sent a separate notice to terminate the Toyota Dealer Agreement on fifteen days’ notice, based on
 GST’s allegations that the dealership had failed to conduct customary sales and service operations for
 seven consecutive business days on January 24, 2019. Reagor-Dykes Toyota notified the Texas
 Department of Motor Vehicles that it protested GST’s January 24, 2019 termination notice. GST and
 Reagor-Dykes Toyota have engaged in a statutorily-required mediation before the Texas Department
 of Motor Vehicles (MVD Docket No. 19-0020-LIC; Reagor-Dykes Plainview LP dba Reagor-Dykes
 Toyota, Protestant v. Gulf States Toyota, Inc., Respondent). GST informed Reagor-Dykes Toyota at
 the mediation that it intends to pursue non-renewal and/or termination to its conclusion. Likewise,
 Reagor-Dykes Toyota informed GST at the mediation that it intends to pursue assumption and
 assignment of the Toyota Dealer Agreement in connection with confirmation of the Plan. Reagor-
 Dykes Toyota disputes both the non-renewal and termination notices and reserves all rights and
 remedies that may be afforded by 11 U.S.C. §108 and all other applicable provisions of the Bankruptcy
 Code vis a vis the Toyota Dealer Agreement and disputes with GST; GST likewise reserves all rights
 and remedies against Reagor-Dykes Toyota incident to same.

 Statement by General Motors: GM asserts that the dealerships at Floydada and at Snyder have been
 terminated. GM obtained a prior order from this Court lifting the automatic stay to permit GM to take
 action before the Texas Department of Motor Vehicles related to the franchises. By letters dated April
 29, 2019 as to Snyder and April 11, 2019 as to Floydada, the Texas Department of Motor Vehicles
 confirmed the termination of the applicable Dealer Sales and Services Agreements, but the Debtors
 intend to contest such termination pursuant to all applicable bankruptcy and non-bankruptcy
 law. GM further maintains that neither dealership is conducting operations, and the lender to the
 Debtor affiliate which owned these properties foreclosed on them and has placed them for sale with
 a broker. The Debtors dispute all non-renewal/termination notices and reserves all rights and
 remedies that may be afforded by 11 U.S.C. §108 and all other applicable provisions of the Bankruptcy
 Code vis a vis the Dealer Sales and Services Agreements and disputes with GM; GM likewise reserves
 all rights and remedies against the Debtors incident to same.

 Discussions with the OEMs are ongoing. If no agreement is reached with the OEMs, the Debtors
 will request the Court to decide the core issues of assumption and assignment of the franchise
 agreements as executory contracts pursuant to §365 of the Bankruptcy Code. The Debtors further
 believe that the Business Plans attached as Exhibit B are reasonable, feasible and achievable. If the
 Plan is confirmed, the Debtors believe that they will achieve at the least the projections outlined in
 Exhibit B, and the risk that the effective Business Plan will not be realized is well within the range of
 acceptable risk for the hypothetical investor, given the projected return.

          Section 13.2 Insufficient Acceptances. The Plan may not be confirmed without sufficient
 accepting votes. Each impaired Class of Claims and Interests receiving a distribution under the Plan
 is given the opportunity to vote to accept or reject the Plan. The Plan will be accepted by a Class of
 impaired Claims if the Plan is accepted by Claimants in such Class actually voting on the Plan who
 hold at least two-thirds (2/3) in amount and more than one-half (1/2) in number of the total Allowed
 Claims of that Class which actually vote. The Plan will be accepted by a Class of impaired Interests if
 it is accepted by holders of Interests in such Class actually voting on the Plan who hold at least
 two-thirds (2/3) in amount of the total Allowed Interests of the Class which actually vote. However,
 an Interest Holder is deemed to have rejected the Plan and is therefore not entitled to vote on the

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 Plan. Only those members of a Class who vote to accept or reject the Plan will be counted for voting
 purposes. If any impaired Class of Claims under the Plan fails to provide acceptance levels sufficient
 to meet the minimum Class vote requirements but at least one impaired Class of Claims accepts the
 Plan, then, subject to the provisions of the Plan, the Debtors intend to request confirmation of the
 Plan under Section 1129(b) of the Bankruptcy Code.

          Section 13.3 Lack of Material Recoveries on the Causes of Action. There is a risk that
 the litigation intended to be brought by the Creditors’ Trust or the Creditors Trust, as the case may
 be, under the Plan will not yield any material net recoveries for the payment of creditors. Risk is an
 inescapable part of any litigation, and exists independent of Chapter 11 and the Plan. The Debtors
 cannot guarantee that the net proceeds from the Causes of Action will exceed a certain amount under
 either a Restructuring or Liquidation.

                              ARTICLE XIV
          CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

 The following discussion summarizes certain possible federal income tax consequences of the Plan to
 the Debtors, and to the holders of Claims and Interests. It is based on the Bankruptcy Code, Treasury
 Regulations, and administrative and judicial interpretations thereof that are now in effect, but which
 could change, even retroactively, at any time. This disclosure is provided for informational purposes
 only. Moreover, this Disclosure Statement summarizes only certain of the federal income-tax
 consequences associated with the Plan’s confirmation and implementation. This discussion does not
 address all aspects of federal, state, and local tax laws that could impact the various classes of
 Claimants, the holders of Interests or the Debtors.

 NO RULING HAS BEEN SOUGHT OR OBTAINED FROM THE IRS WITH RESPECT
 TO ANY OF THE TAX ASPECTS OF THE PLAN AND NO OPINION OF COUNSEL
 HAS BEEN OBTAINED BY THE DEBTORS WITH RESPECT THERETO. NO
 REPRESENTATIONS OR ASSURANCES ARE BEING MADE WITH RESPECT TO
 THE FEDERAL INCOME TAX CONSEQUENCES AS DESCRIBED HEREIN.
 CERTAIN TYPES OF CLAIMANTS AND INTEREST HOLDERS MAY BE SUBJECT
 TO SPECIAL RULES NOT ADDRESSED IN THIS SUMMARY OF FEDERAL INCOME
 TAX CONSEQUENCES. FURTHER, STATE, LOCAL, OR FOREIGN TAX
 CONSIDERATIONS MAY APPLY TO A HOLDER OF A CLAIM OR INTEREST
 WHICH ARE NOT ADDRESSED HEREIN. BECAUSE THE TAX CONSEQUENCES
 OF THE PLAN ARE COMPLEX AND MAY VARY BASED ON INDIVIDUAL
 CIRCUMSTANCES, EACH HOLDER OF A CLAIM OR INTEREST AFFECTED BY
 THE PLAN MUST CONSULT, AND RELY UPON, HIS OR HER OWN TAX ADVISOR
 REGARDING THE SPECIFIC TAX CONSEQUENCES OF THE PLAN WITH
 RESPECT TO THAT HOLDER’S CLAIM OR INTEREST. THIS INFORMATION MAY
 NOT BE USED OR QUOTED IN WHOLE OR IN PART IN CONNECTION WITH
 THE OFFERING FOR SALE OF SECURITIES.

 Under the IRC, a taxpayer generally must include in gross income the amount of any discharge of
 indebtedness income realized during the taxable year. A Creditor who receives cash or other
 consideration in satisfaction of any Claim may recognize ordinary income. The impact of such
 ordinary income, as well as the tax year for which the income shall be recognized, shall depend upon


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 the individual circumstances of each Claimant, including the nature and manner of organization of the
 Claimant, the applicable tax bracket for the Claimant, and the taxable year of the Claimant. Each
 Creditor is urged to consult with its tax advisor regarding the tax implications of any payments or
 distributions under the Plan.

 In general, the principal federal income tax consequences of the Plan to holders of Claims will be (a)
 recognition of loss or a bad debt deduction to the extent that the total payments received under the
 Plan with respect to the Claim are less than the adjusted basis of the holder in such Claim, or (b)
 recognition of taxable income by the holder of the Claim to the extent of the excess of the amount of
 any payments made under the Plan in respect of the Claim over the holder’s adjusted basis therein.

 Common examples of holders of Claims who may recognize taxable income upon receipt of payments
 under the Plan include (a) former employees with Claims for services rendered while serving as
 employees of a Debtor, (b) trade creditors whose Claims represent an item not previously reported in
 income (including Claims for lost income upon rejection of leases or other contracts with a Debtor),
 (c) holders of Claims who had previously claimed a bad debt deduction with respect to their Claims
 in excess of their ultimate economic loss, and (d) holders of Claims that include amounts of pre-
 petition interest that had not previously been reported in income. Common examples of Claims who
 may recognize a loss or deduction for tax purposes as a result of implementation of the Plan, provided
 that such holders are not paid in full, include holders of Claims that arose out of cash actually loaned
 or advanced to a Debtor, and holders of Claims consisting of items that were previously included in
 income of such holders on the accrual method of accounting, to the extent, in both cases, that the
 economic loss to such holders has not been allowed as a tax deduction in a prior year.

 The amount and character or any resulting income or loss recognized for federal income tax
 consequences to a holder of any Claim as a result of implementation of the Plan will, however, depend
 on many factors. The most significant of these factors include (a) the nature and origin of the Claim,
 (b) whether the holder is a corporation (c) the extent to which the Plan provides for payment of the
 particular Claim, (d) the extent to which any payment made is allocable to pre-petition interest which
 is part of such Claim, and (e) the prior tax reporting positions taken by the holder with respect to the
 item that constitutes the Claim. As to the last factor, relevant tax reporting positions include whether
 the holder had to report under its method of accounting any portion of the Claim (including accrued
 and unpaid interest) as income prior to receipt and whether the holder previously claimed a bad debt
 or worthlessness deduction with respect to the Claim, which would affect the adjusted basis of the
 holder in the Claim.

 THE FOREGOING IS INTENDED TO BE A SUMMARY ONLY AND NOT A
 SUBSTITUTE FOR CAREFUL TAX PLANNING OR CONSULTATION WITH A TAX
 ADVISOR. THE FEDERAL, STATE, LOCAL, AND FOREIGN TAX CONSEQUENCES
 OF THE PLAN ARE COMPLEX AND, IN SOME CASES, UNCERTAIN. SUCH
 CONSEQUENCES MAY ALSO VARY BASED UPON THE INDIVIDUAL
 CIRCUMSTANCES OF EACH HOLDER OF A CLAIM OR INTEREST.
 ACCORDINGLY, EACH HOLDER OF A CLAIM OR INTEREST IS STRONGLY
 URGED TO CONSULT WITH HIS OR HER OWN TAX ADVISOR REGARDING THE
 FEDERAL, STATE, LOCAL, AND FOREIGN TAX CONSEQUENCES OF THE PLAN.




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 IMPOSED BY THE INTERNAL REVENUE SERVICE, THE DEBTOR INFROMS ALL
 RECIPIENTS OF THIS DISCLOSURE STATEMENT THAT ANY U.S. TAX
 INFORMATION CONTAINED IN THIS DISCLOSURE STATEMENT (INCLUDING
 THE EXHIBITS HERETO) IS NOT INTENDED OR WRITTEN TO BE USED, AND
 CANNOT BE USED, FOR THE PURPOSE OF (A) AVOIDING PENALTIES UNDER
 THE INTERNAL REVENUE CODE, OR (B) PROMOTING, MARKETING, OR
 RECOMMENDING TO ANOTHER PARTY ANY TRANSACTION OR MATTER
 ADDRESSED HEREIN.

                                  ARTICLE XV
                         RECOMMENDATION OF THE DEBTORS

 The Debtors believe the Plan is in the best interests of all Creditors. Accordingly, the Debtors
 recommend that you vote for acceptance of the Plan and hereby solicit your acceptance of the Plan.

 DATED: August ___, 2019                      Respectfully submitted,

                                              Reagor-Dykes Motors, LP et al.

                                              By:    /s/ Robert Schleizer
                                                     Chief Restructuring Officer


 Prepared by:

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 COUNSEL FOR DEBTORS AND
 DEBTORS-IN-POSSESSION




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